     Case 19-05831-LA11                       Filed 03/18/21              Entered 03/18/21 15:55:27                            Doc 201   Pg. 1 of
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 5   Attorneys for Debtor. Dana Aaron Linett
 6

 7
 8                                         UNITED STATES BANKRUPTCY COURT

 9                                         SOUTHERN DISTRICT OF CALIFORNIA
10
11                                                                                 CASE NO. : 19-05831-LAl 1
      Inre
12                                                                                 Chapter 11
      DANA AARON LINETT
13                                                                                 DEBTOR-IN-POSSESSION MONTHLY
14                                              Debtors.                           OPERATING REPORT FOR THE MONTH
                                                                                   OF FEBRUARY 2021
15
16              TO THE HONORABLE LOUISE DECARL ADLER, UNITED STATES BANKRUPTCY

17   JUDGE:

18              Debtor and Debtor-in-Possession, Dana Aaron Linett ("Debtor") hereby files his monthly
19   Operating Report pursuant to the United States Trustee's Operating and Reporting Requirements for

20   Chapter 11 cases.

21
22   Dated: March 18, 2021                                                           /s/ Gustavo E. Bravo
                                                                                     Gustavo E. Bravo, Esq.
23                                                                                   SMAHA LAW GROUP, APC
                                                                                     Attorneys for Debtor,
24                                                                                   Dana Aaron Linett
25   C:\Users\mdawson\Smaha Law Group\SmahaDocuments -Documents\Linett, Dana\Operating.Report\100 O.R.Cover (Standard).»'JJd


26
27
28


        DEBTOR-IN-POSSESSION MONTHLY OPERATING REPORT FOR THE MONTH OF FEBRUARY 2021
                                                                               1
    Case 19-05831-LA11                                              Filed 03/18/21                                 Entered 03/18/21 15:55:27         Doc 201   Pg. 2 of
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                            UNITED STATES DEPARTENT OF JUSTICE
                            OFFICE OF THE UNITED STATES TRUSTEE
                            SOUTHERN DISTRICT OF CALIFORNIA

In Re: DANA AARON LINETT                                               CHAPTER 11 (BUSINESS)

                                                                       CASE NO. 19-05831-LA11
                                                                       OPERATING REPORT NO. 17
                                          Debtortsl.                   FOR THE MONTH ENDING: February 28, 2021


                            1. CASH RECEIPTS AND DISBURSEMENTS
                                         A.(GENERALACCOUNT")

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                             $   438,529.76

2. LESS:                   TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL
                           ACCOUNT REPORTS                                                                                          $   429,329.03

3. BEGINNING BALANCE:                                                                                                               $     9,200.73

4. RECEIPTS DURING CURRENT PERIOD

             ACCOUNTS RECEIVABLE - PRE-FILING                                                                 $
             ACCOUNTS RECEIVABLE - POST-FILING                                                                $         10,000.00
             GENERAL SALES                                                                                     $           145.93
             OTHER • (SPECIFY): CONSIGNED MATERIAL TO lHIRD PARTY AUCTION HOUSE                                $
             OTHER - (SPECIFY):                                                                                $



                                                         TOTAL RECEPTS THIS PERIOD:                                                 $    10,145.93
5. BALANCE:                                                                                                                         $    10,145.93

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD

             TRANSFERS TO OTHER DIP ACCOUNTS                                                                  $
             DISBURSEMENTS                                                                                    $
                     US Bank General Account • 4446                                                           $         12,306.70
                     Walmart Money Cash Card 4556                                                             $
                     Walmart Money Cash Card 6221                                                              $
                     Walmart Money Cash Card 6229                                                              $


  TOTAL DISBURSEMENTS THIS PERIOD-                                                                                                  $    12,306.70

7. ENDING BALANCE                                                                                                                   $     7,039.96

8. GENERAL ACCOUNT NUMBER:            4446
   DEPOSITORY NAME AND LOCATION: US Bank - Rancho Santa Fe, CA


• All mcaipttJ must bo dapolstod lnlo lho g6neral ac.count
-lncludo roa:ipls Imm rho aft ot any roal or patJonal PfOPll(t'f out at tho otdinBly COW'lo of bus/nos,; 8ftech an axhibit
sp«:itrtng M11Dt ns aold. to MJOm, tenns. and dato of lho COwf Otdoror Rttpottct Salo.
-rhis amount should bo Iha aama cs tho total Imm pago 2.
   Case 19-05831-LA11                           Filed 03/18/21      Entered 03/18/21 15:55:27            Doc 201       Pg. 3 of
                                                                      48




                                 TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD

                    CHECK
 DATE              NUMBER                        PAYEE                                 PURPOSE                         AMOUNT
                                                                General Account




                 SEE ATTACHED SCHEDULES




                                                                                  TOTAL DISBURSEMENTS THIS PERIOD: $




Add additional pages asnecessa,y ID Include aH disbursaments.
                 Case 19-05831-LA11                      Filed 03/18/21                            Entered 03/18/21 15:55:27                                Doc 201          Pg. 4 of
                                                                                                     48
                                                                    Early American Numismatics / Dana Linett
                                                                                             Transaclion Report
                                                                                                February 2021


DATE                     TRANSACTION TYPE   NUM    ADJ   NAME                      MEMOOESCR!PTION              ACCOUNT                  Sl'UT                                   AMOUNT      BAI.ANCc
US Bank 4446 • General
 8aglnnlng BaJanco                                                                                                                                                                            9,200.79
 02/01/2021              Cl1eck             1279   No    USBank                                                 us Bank 4446 • Gonoral   Commoric81 Loan Paymonl                •1,200.00     8,000.79
 02/01/2021              Cl1eck             1280   No    BB1bara Unett                                          us Bank 4446 • Genoral   Equollzalion Paymont to B.Unet         -5.000.00     3,000.79
 02/01/2021              Expense                   No    Ebay                                                   US Bank 4446. Genoral    lnwntory Pun:huo PDSlpelltlon            -594.00     2,406.79
 02/01/2021              E.,ponlo                  No    NVE&Co                                                 us 8ank4446 • General    Inventory Purchase Postpstftlon          ·145.02     2,281.77
 02/01/2021              E,q,onso                  No    Paypal                                                 US BMk 4448 • General    Inventory Purchaso POSlpetiHon             •94.95    2,168.82
 02/01/2021              E"""""°                   No    Ebay                                                   US Bank 4446 • General   lnvento,y Purchase POSlpetiUon             ·79.90    2,086.92
 02/01/2021              E,q,onso                  No    Ebay                                                   us Bank 4446 • General   lnventDry Purchase Postpetltlon            •77.00    2,009.92
 02/01/2021              Expense                   No    Paypal                                                 us Bank 4446 • General   lnwntory Pun:huo POSlpetillon              -60.00    1,949.92
 02/01/2021              e_...,                    No    Paypal                                                 us Bank 4446 • General   lnwntory Pun:huo Poslpetitlon            -347.DD     1,602.92
 02/01/2021              Expense                   No    Paypal                                                 us Bank 4446 • General   lnwntory Purc:haso Poslpetitlon          .:)85.00    1,217.92
 02/01/2021              Erponoe                   No    USPS                                                   us Bank 4446 • Genotal   POS!age & Delive1y                         ·21.50    1,196.42
 ovomo21                 e,ponso                   No    USPS                                                   us Bank 4446 • Gen9rBI   Posmge & Dellva,y                          •29.10    1,167.32
 02/03/2021              ElponsB                   No    Ohenhaln                                               US Bank 4446 • Gonaral   Utilities:W818r                          •1B1,15       986.17
 02/00/2021              ElponsB                   No    Peypal                                                 US Bank 4446 • Genaral   lnvonloty Purcttaso POS!petitlon           -81.90      904.27
 02/03/2021              Expenso                   No    Peypal                                                 US Bank 4446 • Genorel   lnvento,y Pun:huo POSlpoffllon           •138.50       765.77
 02/00/2021              Expense                   No    Poypcl                                                 US Bank 4446 • Geneinl   Inventory Purchaso POSlpoffllon            -40.00      725,77
 02/05/2021              Expenso                   No    Paypal                                                 US Bank 4446 • Genoml    Inventory Purchase Postpel!llon            -32.00      693.77
 Dm5/2021                Expo"'"'                  No    USPS                                                   us Bank 4446 • Genoral   Postage & Delive,y                       -223.70       470.07
 02/05/2021              Expense                   No    Paypal                                                 us Bank 4446. Genora1    lnwntory Purchase Postpelltlon             ·18.98      451.09
 02/05/2021              Expense                   No    Paypal                                                 us Bank4446• General     lnwntory Purchase l'ost!:>oll1ion        -430.DD        -28.91
 02/D9/2021              Expense                   No    Paypal                                                 us Bank 4446 • General   Inventory PIJ!Chase POSlp&lllion         -266.85      ·295.56
 02/D9/2021              Expense                   No    PaypaJ                                                 us Bank 4446 • Genere1   lnventoty Pwchasa Pcstpol!tion            -421.72     •717.28
 02/09/2021              Expanse                   No    Paypal                                                 us Bank 4446 • Genoral   lnvenlory Pun:huo Postpotll1on            •267.39     -964.67
 02/10/2021              expen...                  No    Paypal                                                 US Bank 4446 • Goneml    Inventory Purchase Postpelllion           •148.00   ·1,133.67
 02/10/2021              Check              1281   No    OMV                                                    US Bank 4446 - GonercJ   A'"omoblle Expensa:Roglstrutlon            •24.00   ·1,157.87
 02/10/2021              Expe.....                 No    Paypcl                                                 us Bank 4446 • Gonercl   lnvantoly PU!Chase Postpotltlon            •88.02   ·1.245.69
 02/10/2021              Paymorn                   No    EAHA                                                   us Bank 4446 • GonercJ   Aa:aunl3 Rocolvablo                      S.000.00    3,754.31
 02/10/2021              e_...                     No    Paypal                                                 USBank4446·Gonon!I       lnwntory Pun:huo PDSlpelltlon              -84.66    3,689.65
 02/12/2021              Expense                   No                                                           us Bank 4446 • Genora1   Bank SeMC& Char;es                         •15.00    3,674.65
 02/12/2021              Expense                   No    MallNMom                                               USBank4446 • GonoraJ     Postage & Delivory                        -230.00    3,444.65
 02/17/202\              Chad<              1282   No    Bari)ara Unott            covld balanco                us Bank 4446 • General   Equalization Paymor,110 B.unet          •1,500.0D    1,944.65
 02/19/2021              Journal Enlly      44     No                              loracordsalo                 us Bank 4446 • Ganaral   ·Sf)llt·                                   145.53    2,090.58
 02/24/2021              Chad<              1283   No    Consumer cenular                                       US Bank 4446 • General   Telaphono ExJ)onS<I                        •50.62    2,039.96
 02/24/2021              Payment                   No    EAlfA                                                  US Bank 4448 • Genaral   Accoun!S Receivable                      5,000.00    7,039.96
Tdlllfol'US--· 8onorel                                                                                                                                                         $,e,160.83
iOT'AI.                                                                                                                                                                        s-z1eo.as




                                                                            -..o1 Bos!>   -.Man:h 15,202102:2BPMGMT--07:00                                                                         1n
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                                                GENERAL ACCOUNT
                                               BANK RECONCILIATION*

Balance per bank statement dated:                                                                                 $

Plus deposits in transit (a):

            Deposit Date                                      Deposit Amount



            SEE ATTACHED BANK RECONCILIATIONS

            Total deposits in transit                                                                             $

Less outstanding checks (a):

             Check Number              Check date               Check Amount




            Total outstanding checks                                                                              $

Bank statement adjustments-

Adjusted bank balance                                                                                             $




        *It is acceptable to attach lists of deposits in transit and outstanding checks to this form or to replace this form with a similar form.
        **Please attach a detailed explanation of any bank statement adjustment.
          Case 19-05831-LA11                      Filed 03/18/21               Entered 03/18/21 15:55:27                        Doc 201           Pg. 6 of
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                                                          Early American Numismatics / Dana Linett
                                                        US Bank 4446 - General, Period Ending 02/28/2021

                                                                     RECONCILIATION REPORT
                                                                      Reconciled on: 03/15/2021

                                                          Reconciled by: sdaccountingservices@cox.net null

Any changes made to transactions after this date aren't included in this report.

Summary                                                                                                                                                            USO

Statement beginning b a l a n c e . · - - - · · - - - · · · · - - - · - · · - · · - - · - - · - - · - · · - · - - · - · · - - · - - - - · - - - - - - - - - - 10,083.98
Checks and payments cleared (32),              ·----·-··                                                     ·----                         _                 -10,852.09
Deposits and other credits cleared (3).                                                                      •                                                10,145.93
Statement ending balance•., - - - - - - - - - - ·                                                             · · - - - - - - - - - - · - - - - - - · · 9,377.82
Uncleared transactlons as of 02/28/2021.__,______,__________,___,____________,____,_________________________ -2,337.86
Register balance as of 02/28/2021_____________________________                                                                                        _ __ 7,039.96
Cleared transactions after 02/28/2021                                                                                                                          0.00
Uncleared transactions after 02/28/2021---··                -                                                                           · · · - - - - -__-6,546.08
Register balance as of 03/15/2021                                                                                                     --------·-··-·"""493.88


Details

Checks and payments cleared (32)

DATE                             TYPE                              REF NO.                          PAYEE                                            AMOUNT (USO)
01/27/2021                       Check                             1278                             Scripps health                                                -35.00
01/27/2021                       Check                             1277                             Consumer Cellular                                             -43.00
01/29/2021                       Expense                                                            USPS                                                          -17.95
02/01/2021                       Expense                                                            Ebay                                                          -77.00
02/01/2021                       Expense                                                            Paypal                                                        -60.00
02/01/2021                       Expense                                                            Paypal                                                       -347.00
02/01/2021                       Check                             1280                             Barbara Linet!                                          -5,000.00
02/01/2021                       Expense                                                            USPS                                                          -21.50
02/01/2021                       Expense                                                            Ebay                                                         -594.00
02/01/2021                       Check                             1279                             US Bank                                                  -1,200.00
02/01/2021                       Expense                                                            Ebay                                                          -79.90
02/01/2021                       Expense                                                            Paypal                                                        -94.95
02/01/2021                       Expense                                                            NYE&Co                                                       -145.02
02/01/2021                       Expense                                                            Paypal                                                       -385.00
                                                                                                                                                             (
02/02/2021                       Expense                                                            USPS                                                          -29.10
02/03/2021                       Expense                                                            Paypal                                                        -40.00
02/03/2021                       Expense                                                            Paypal                                                       -138.50.
02/03/2021                       Expense                                                            Paypal                                                        -81.90
02/03/2021                       Expense                                                            Olivenhain                                                   -181.15
02/05/2021                       Expense                                                            Paypal                                                       -480.00
02/05/2021                       Expense                                                            Paypal                                                        -32.00
02/05/2021                       Expense                                                            Paypal                                                        -18.98
02/05/2021                       Expense                                                            USPS                                                         -223.70
02/09/2021                       Expense                                                            Paypal                                                       -421.72
02/09/2021                       Expense                                                            Paypal                                                       -266.65
02/09/2021                       Expense                                                            Paypal                                                       -267.39
02/10/2021                       Check                             1281                             OMV                                                           -24.00
02/10/2021                       Expense                                                            Paypal                                                        -64.66
02/10/2021                       Expense                                                            Paypal                                                        -88.02
02/10/2021                       Expense                                                            Paypal                                                       -149.00
02/12/2021                       Expense                                                            Mail N More                                                  -230.00
02/12/2021                       Expense                                                                                                                          -15.00

Total                                                                                                                                                    -10,852.09

Deposits and other credits cleared (3)

DATE                             TYPE                              REF NO.                          PAYEE                                            AMOUNT (USO)
02/10/2021                       Receive Payment                                                    EAHA                                                     5,000.00
        Case 19-05831-LA11       Filed 03/18/21     Entered 03/18/21 15:55:27   Doc 201   Pg. 7 of
                                                      48
DATE               TYPE                   REF NO.              PAYEE                       AMOUNT (USO)
02/19/2021         Joumal                 44                                                      145.93
02/24/2021         Receive Payment                             EAHA                             5,000.00

Total                                                                                         10,145.93
 Case 19-05831-LA11     Filed 03/18/21       Entered 03/18/21 15:55:27   Doc 201   Pg. 8 of
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             1. CASH RECEIPTS AND DISBURSEMENTS (Continued)
                            B. Payroll Account

1. TOTAL RECEIPTS PER ALL PRIOR REPORTS                      $      100.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR REPORTS           $

3. BEGINNING BALANCE                                         $      100.00

4. RECEIPTS:
          TRANSFERRED FROM GENERAL ACCOUNT                   $
          TRANSFER FROM OLD ACCOUNT                          $
          INTEREST PAYMENT                                   $
          OTHER RECEIPTS                                     $
          RETURNED CHECKS                                    $
          TOTAL RECEIPTS                                     $

5. BALANCE                                                   $      100.00

6. LESS: DISBURSEMENTS DURING CURRENT PERIOD

  DATE   CHECK NO.        PAYEE          AMOUNT




                                         $


                        TOTAL DISBURSEMENTS THIS PERIOD: $

7. ENDING BALANCE:                                            $      100.00

8. SOCIAL SECURITY ACCOUNT NUMBER:
   DEPOSITORY NAME AND LOCATION:
  Case 19-05831-LA11              Filed 03/18/21    Entered 03/18/21 15:55:27   Doc 201   Pg. 9 of
                                                      48



                                         PAYROLL ACCOUNT
                                        BANK RECONCILIATION*

Balance per bank statement dated:

Plus deposits in transit (a):

            Deposit Date                      Deposit Amount



            SEE ATTACHED BANK RECONCILATION

            Total deposits in transit                                       $

Less outstanding checks {a):

             Check Number        Check date   Check Amount




            Total outstanding checks                                        $

Bank statement adjustments-

Adjusted bank balance                                                       $
        Case 19-05831-LA11                       Filed 03/18/21               Entered 03/18/21 15:55:27               Doc 201       Pg. 10 of
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                                                          Early American Numismatics I Dana Linett
                                                         US Bank 4453 • Payroll, Period Ending 02/28/2021

                                                                     RECONCILIATION REPORT

                                                                      Reconciled on: 03/15/2021

                                                          Reconciled by: sdaccountingservlces@cox.net null

Any changes made to transactions after this date aren't included in this report.

Summary                                                                                                                                              USD
Statement beginning balance--,---·                                                                ---------------·--------·-----100.00
Checks and payments cleared     (O>-------------------------------------
Deposits and other credits cleared (0)                                                                                               ,__Q,QQ
                                                                                                                                            ..........
                                                                                                                                         0.00
Statement ending balance                                                                                                     - - - - - 100.00

Register balance as of 02/28/2021_ _ _ _ _ _ _ _ _ _ __                                                  _ ________ ,,__________,,________ ,___100.00
Case 19-05831-LA11      Filed 03/18/21       Entered 03/18/21 15:55:27   Doc 201   Pg. 11 of
                                               48



             1. CASH RECEIPTS AND DISBURSEMENTS (Continued)
                              B. Tax Account

1. TOTAL RECEIPTS PER ALL PRIOR REPORTS                       $      100.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR REPORTS            $

3. BEGINNING BALANCE                                          $      100.00

4. RECEIPTS:
          TRANSFERRED FROM GENERAL ACCOUNT                    $
          TRANSFER FROM OLD ACCOUNT                           $
          INTEREST PAYMENT                                    $
          OTHER RECEIPTS                                      $
          RETURNED CHECKS                                     $
          TOTAL RECEIPTS                                      $

5. BALANCE                                                    $      100.00

6. LESS: DISBURSEMENTS DURING CURRENT PERIOD

  DATE    CHECK NO.       PAYEE          AMOUNT




                                         $


                       TOTAL DISBURSEMENTS THIS PERIOD: $

7. ENDING BALANCE:                                            $      100.00

8. SOCIAL SECURITY ACCOUNT NUMBER:
   DEPOSITORY NAME AND LOCATION:
 Case 19-05831-LA11              Filed 03/18/21   Entered 03/18/21 15:55:27       Doc 201   Pg. 12 of
                                                    48



                                           TAX.ACCOUNT
                                        BANK RECONCILIATION*

Balance per bank statement dated:                                             $

Plus deposits in transit (a):

            Deposit Date                     Deposit Amount



            SEE ATTACHED BANK RECONCILIATION


            Total deposits in transit                                         $

Less outstanding checks (a):

             Check Number       Check date   Check Amount




            Total outstanding checks                                          $

Bank statement adjustments**

Adjusted bank balance                                                         $
        Case 19-05831-LA11                       Filed 03/18/21               Entered 03/18/21 15:55:27                      Doc 201           Pg. 13 of
                                                                                48

                                                          Early American Numismatics/ Dana Linett
                                                          US Bank 4461 - Tax, Period Ending 02/28/2021

                                                                     RECONCILIATION REPORT
                                                                      Reconciled on: 03/15/2021
                                                          Reconciled by: sdaccountingservices@cox.net null
Any changes made to transactions after this date aren't Included In this report.

Summary                                                                                                                                                        USO
Statement beginning balance..,...,.,~--                                                    - - - - - - - - - - - - - - - - - - - · - - - - - - - - - - - - - -100.00
Checks and payments cleared (0)                                                          -------                    - - - - - - - - - - - - - - -..---···0.00
Depostts and other credits cleared (O)_ _ _ _ _ _,
                                                                 ----·-------------------------------·----                                  0.00
Statement ending balance
                                                                                                                       -----------------. --~
Register balance as of 02/28/2021
                                                       ·----·--------------                                  - - - - - - - - - - - - - - - - - - - - - -100.00
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             1. CASH RECEIPTS AND DISBURSEMENTS (Continued)
                        B. Wells Fargo Account 1670

1. TOTAL RECEIPTS PER ALL PRIOR REPORTS                       $   114,224.97

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR REPORTS          $     110,445.85

3. BEGINNING BALANCE                                          $     3,779.12

4. RECEIPTS:
          TRANSFERRED FROM GENERAL ACCOUNT                    $
          TRANSFER FROM OLD ACCOUNT                         $
          INTEREST PAYMENT                                  $
          OTHER RECEIPTS                                    $      12,662.43
          RETURNED CHECKS                                   $
          TOTAL RECEIPTS                                    $

5. BALANCE                                                    $    16,441.55

6. LESS: DISBURSEMENTS DURING CURRENT PERIOD

  DATE   CHECK NO.       PAYEE          AMOUNT




SEE ATTACHED




                                        $12,507.36


                        TOTAL DISBURSEMENTS THIS PERIOD: $         12,507.36

7. ENDING BALANCE:                                            $     3,934.19

8. SOCIAL SECURITY ACCOUNT NUMBER:
   DEPOSITORY NAME AND LOCATION:
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                                                                                                               48
                                                                                Early American Numismatics I Dana Linett
                                                                                                          Transaction Report
                                                                                                             February 2021


DATE              lRANSACTION   NUM ADJ NAME                 MEMO/DESCRIPTION                                                                                                         ACCOUW        SPUT                       AMOUW BAI.ANCE
                  'IYPE
wons Fargo 1670
 Begiming                                                                                                                                                                                                                                   3.7711.39
 8aJ&nce
 DZ'D1/2021       Expense             No   Fodo<OIEJl)<oss   PURCHASE                 AUTHORIZED ON 01128 FEDEX 463506230         MEMPHIS     'IN SS81028487024707                    Wells Fargo   POSUJgo & DelJvoty           ·38.09     3,743.30
                                                             CAR03482                                                                                                                 1670
 02/01/2021       Exponso             No   NYE&Cc            PURCHASE                 AUTliORIZED ON 01/30 SO "NYE & CO., SHI     go&q.com   NJ S581D3D617721D14                      Walb:Fargo    '"""""ryPt.-n:hase           -21.00     3,722.30
                                                             CARD3462                                                                                                                 1670          p~
 02/01/2021       Exponsa             No                     PURCHASE                 AUTHORIZED ON 01131 7,ELEVE,'l          S...Diogo CA P0000000037B584184                         WDJlsFa,go    Pc=na!Grocorlos              ·24.46     3,697.84
                                                             CARD3482                                                                                                                 1670
 02.l)2l2021      Expense             No   Gocgle            PURCHASE                 AUTHORIZED ON 02/01 GOOGLE'GSUTTE EVOI.         INJERNE:T CA                                    WollsFa,go    OUos&Sot>sc,ti,tions         ·12.00     3,685.84
                                                             6461032717766606 CAR03462                                                                                                1870
 =21              Expense             No   Googkt            PURCHASE                 AUTHORIZED ON 02/01 GOOGLE 'GSUITE.Jog        cc@googlo.a)m CA                                  WellsFa,go    Duos & 5uboalptions          -12.00     3,573.84
                                                             SS8103272!1815270 CAR03462                                                                                               1671)
 om:!/2021        Expense             No                     PURCHASE                 AUTHORIZED ON 02/01 FOXWOOOS ONUNE.BB           880-31Zl000 CAN                        Wells Fargo            P81SCM1Misc.                  -0.99     3,872.85
                                                             Sl81033020961998 CARD3462                                                                                       1671)
 0ZAl3/2021       Expenso             No                     RECURRING PAYMENT              AUTHORIZED ON 02/02 DNH'GOOAODY.COM            -/JZ                              Web Fargo              -Expense                     -28.18     3,644.89
                                                             5381033562038830 CARD3462                                                                                       1670
 02/D3/2021       Jouma1En1ry   <15   No                                                                                                                                     We\lsFariio            -Splk·                     3.600.00     7,24'-69
                                                                                                                                                                             1870
 02,1l3/2021      Expense             No   Google            PURCHASE                  AUTHORIZED ON 02/02 GOoGLE"GSUfTE EARL             INTERNET CA                        Wells Fargo            Dues&Subocrlplions           -30.00     7,214.69
                                                             5381033813875761 CARD3462                                                                                       1671)
 ll2All/2021      Expense             No   FedomlE-          PURCHASE                   AUTliORIZED ON 01/30 FEDEX "63675094         MEMPHIS        'IN 5381030572864;?64 Wells Fargo               Postago& Oellvol'y          -159.76     7,054.93
                                                             CAR03462                                                                                                        1670
 02J0</2021       Expense             No   Amazon            PURCHASE                   AUTHORIZED ON 02/02 Amazon wob ......ico     aws.amazcn.co WA 5361034139418259 WellsFariio                  Office~                       -6.48     7,048.45
                                                             CAR03462                                                                                                        1870
 D2/04/2021       Expense             No   Fedoral Exp<ms    PURCHASE                   AUTHORIZED ON 02/01 FED EX 453950184          MEMPHIS       'IN 6461032491620446 Wells Fargo                Pos,ago & Dcllvory          ·217.65     6.830.80
                                                             CAR03462                                                                                                        1870
 02/05l2021       Expense             No   Fodorol Exp<ms    PURCflASE                  AUTHORIZED ON 02'03 FEDEJC 484239413          MEMPHIS       'IN $301034483987159 Wells Fargo                POSlllge & Dellvory          -39.96     6.790.84
                                                             CAR03462                                                                                                        1671)
 02/DS'2021       Expense             No                     PURCHASE                   AUTHORIZED ON 02'03 FOXWOODS ONUNE.5B              880-3123000 CAN                   Wells Fargo            P-Mioc.                       -4.99     8,785.85
                                                             5381035188705075 CARD3482                                                                                       1670
 02/05/2021       Expe:l30            No                     PURCHASE                   Al/THORIZED ON 02/03 FOXWOODS ONLINE.BB            880-3123000 CAN                   Wells Fargo            PoraonaJM;sc.                 -0.99     8,784.88
                                                             8481035188838059 CARD3482                                                                                       1870
 =21              Expanse             No   HOmeDepot         PURCHASE                   AlJ'l'HORIZED ON 02IU6 THE HOME DEPOT I0689 SAN DIEGO CA                             WellsFatgo             Repair.; and Maintenance     •71.88     6.713.20
                                                             P00481037823481275 CARD 3462                                                                                    1870
 =21              Deposit             No   HOmeDepot         PURCHASE RETURN                   AlJ'l'HORIZED ON 02ID6 THE HOME DEPOT '°669 SAN DIEGO CA                      WollsFIUlJO            Repairs and Malmo"""co        21.62     8,734.72
                                                             POo00000057lll38222 CARD 3462                                                                                   1670
 =21              Expense             No                     RECURRING PAYMENT                  AUIHORIZEDON 02JOS EIG·CONSTANTCONTAC             BSS-2295506 MA             WellsFar;o             Dua & SUbscrip~ons           -65.00     8,879.72
                                                             8481037286003005 CARD 3482                                                                                      1870
 02/0&'2021       DopooJI             No   HOrno Dopot       PURCHASE RETURN                   AUTHORIZED ON 02/06 lHE HOME DEPOT I066!l SAN DIEGO CA                        WellsFIUlJO            Repails and Malntonanco       13.39     6,663.11
                                                             P003010378115097"4 CARD 3462                                                                                    1670
 02/Jl8/2021      Expense             No                     PURCHASE                   AUTHORIZED ON 02/DSPAYPAL 'VEGAAI.BERJ            402-935-7733 CA                    WellsFBl!lo            lnvamory Pun:hoso            ·16.00     6.877.11
                                                             6301037150009784 CARD 3482                                                                                      1670                   Pos!pallllon
 02/0&'2021       Expense             NO   S1ator5ros        PURCHASE                   AUTHORIZED ON 0:1/07 STATERBR05187 99119 CARMEL SAN DIEGO CA                         Wells Fa:go            PfflOtlalGloc:erioa          -41.2B     6.835.85
                                                             P003010387!11422S85 CARD 3462                                                                                   1870
 ll2/D8/2021      Expenso             No   Fedorol Expre&a   PURCHASE                   AUTHORIZED ON 02/06 FEDEX 464504992           MEMPHIS       TN 5361037505325399 WollsFargo                  Poslago & Delivery          ·109.88     6,525.97
                                                             CAR03462                                                                                                        1870
 02.W/2021        Exponse             No S1atarl!ros         PURCHASE                   AUTHORIZED ON D2lll5 STATERBROS167 9S1l9 CARMEL SAN DIEGO CA                         WellsFer;o             P8!SOnal G<ooerlss           -98.28     8,429.69
                                                             PD0461037074086099 CARD 3462                                                                                    1870
 02/Jl8/2021      Expanse             No   Fedora! Expross   PURCHASE                   AUTiiORIZED ON 02/04 FEOEX 4843416'!0         MEMPHIS        TN SS81035484520138 WcllsFIUlJO                POS1ego & Delivery           .SS.00     6,343.69
                                                             CAR034a2                                                                                                        16711
 OW9J2021         Expense             No                     PURCHASE                   AUTHORIZED ON 02/02 GSM SUPPLY LLC            1111;.!- NV 5361034061831578 WollsFargo                       PalSOnalMlsc.                -49.78     6,293.91
                                                             CARD3462                                                                                                        1670
 02/ll9/2021      Expense             No   Ebo'{             PURCHASE                   AUTHORIZED ON ll2IDII oBar 0'10-08547-55     408{3766151 CA 8481039527998137 WollsFIUlJO                    lnvanlory Purchase           -71.00     6,222.91
                                                             CAR03462                                                                                                        1670                   Pcslpelttlon
 02/10/2021       Expense             No   Federal Expmss    PURCHASE                   AUTHORIZED ON 02/08 FEDEX 484780076           MEMPHIS        'IN S38I03S4S3472059 WellsFa,vo                POS1age & Delivery          ·104.84     6,lJB.07
                                                             CARD3462                                                                                                        1870
 02/12/2021       Paymem              No   E'AHA                                                                                                                             WellsFIUlJO            Accoun1s Rocelvel>lo       4,000.00 10,116.07
                                                                                                                                                                             1670
 02/12/2021       Expanso             No   Von:,             PURCHASE                   AUTHORIZEDON D2112VONSll2119               SAN DIEGO CA P00461043810461609 W911sFBl!ID                      Peniona!G-.                  -8126 10,058.91
                                                             CARD3482                                                                                                        1870
 02112/2021       Expensa             No   Pootol Comer      PURCHASE                   AUTHORIZED ON 02/12 Postnl Comer          Encinitas CA POIIS81043700382260           WellsFBl!ID            POS1age & Dellvory           -a,.as     9,974.96
                                                             CAR03462                                                                                                        1670
 0211212021       Expense             No                     PURCHASE                   AUTHORIZED ON 02/11 COTIJASTACO SHOP             SAN DIEGO CA                        WcllsFBl!ID            Personal Moals                 -9.43    9.965.53
                                                             5381042709458541 CAR03462                                                                                       1670
 02/12/2021       Expenae             No   J.osSoHlnllman    PURCHASE                   AUTHORIZED ON 02111 lESUE HINDMAN AUC            CHICAGO        IL $4611)42843199046 WellsFa:go             lnvBnlOryPurcilose           -98.88     9,666.85
                                           Aucllonoo         CAR03462                                                                                                        1670                   Poslpatillon
 02/16/2021       Deposit             No   HOmaDepol         PURCHASE RElURN                   AU1110RIZED ON 02/15 THE HOME DEPOT 8949         POWAY        CA              WdsFariio              Repairs and Malntanmx:o       21.52     9,6611.17
                                                             P00000000979747281 CARD 3462                                                                                    1870
 02/16/2021       Exponso             No   CoSlt<>           PURCHASE                   AUTHORIZEDON 02/15COSTCOGAS#On5                 P<NIAY         CA                    WellsFa:go             PersonaJG<ac:orios            •7.99     9.88D.18
                                                             P0030104707T.337028 CARD 3462                                                                                   1670
 02/16/2021       Exponso             No                     PURCHASE                   Al/THORIZED ON 02/15 DNH'GODADDV.COM              h:q:>c:/-...gAZ                    Wo11$FB1!10            SollwaruExpense               -9.99     9,670.19
                                                             848104S554473387 CARD3482                                                                                       1870
 02/16/2021       Expense             NO   llrcpl)ox         RECURRING PAYMENT                  AUTHORIZED ON 02/15 DROPBOX'CYW321NLP            DROP!!OX.COM CA             WollsFB:go             SoftwBraExpenae              ·11.99     9.858.20
                                                             8301048788715486 CARD3482                                                                                       1870
 02/l6/2021       Exponso             No   El>oy             PURCHASE                   AU1110RIZEDON 02/15oBarO~                     4()8.3766151 CA 53610466502!l7710 Wallsfariio                 Inventory Pun:llase          -27.•5     9.930.75
                                                             CAR03482                                                                                                        1671)                  POSIJ)Otltlon.
 02/l6/2021       Expanse             No   Ebo'{             PURCHASE                  AUTHORIZED ON           D2115 oBay 0'23-08584-08          408-3766151 CA 5381048843004038      WallsFIUlJO   lnven!Ory Pun:hcso           -49.•5     9,781.30
                                                             CARD3482                                                                                                                 1670          POS1p61illon
 02/l6.'2021      Expense             No   Costco            PURCHASE                  AUTHORIZED ON           02/15 COSTCO GAS <ff775               POWAY     CA                     WellsFIUlJO   Pcr,onal Grooerfoa           -54.00     s.m.30
                                                             POOS8104707371l9960 CARD 3462                                                                                            1670
 02/l6/2021       e_,,..              No   El>ar             PURCHASE                  AUlHORIZED ON           02/ISoBay 0'03-06586-84           408-3766151 CA SS81016844259086      WellsFa,vo    lnw-,Pun:llase               -54.95     9,672.35
                                                             CARDs-182                                                                                                                1670          P""Pfflltlon
 02/l6/2021       Expanse             No   El>ar             PURCflASE                 AUTHORIZED ON           02/l5 oBay 0'23--0658+06          408-3766151 CA SS81048843004038      We!ls FBllP   lnvonlory Pun:llao           -95.90     9.576••5
                                                             CARD3462                                                                                                                 1671)         PcslpGlition
 02/l6/2021       Expense             No   El>ar             PURCHASE                  AUTHORIZED ON           02/15o!!ay0'12-06585,6!!          408-3768151 CA 84810<l&l7849703      WdsFIUlJO     lnventoryPtm>OSe            .:?51.-10   9.325.05
                                                             CAR03482                                                                                                                 1670          Poslpa1i1lon
 02118/2021       Expanse             No   CoSlt<>           PURCHASE                  AU1110RIZED ON          02/15 COSTCO WHSE 1G775               POWAY      CA                    WollsFa:go    P818CX18JGioceries          -457.37     6.857.68
                                                             P0058104710C507182 CARD 3462                                                                                             1670
 02/16/2021       Expanse             No   El>8y             PURCflASE                 AUTHORIZED ON           02/12 oBay 0"21-06566•77          408-3766151 CA 6301043829387311      WellsFatgo    lnV8nloryl'urdlasa          -567.oa 8.290.80
                                                             CARD3462                                                                                                                 1870          POSlpalltloo
 02/16/2021       Expanse             No   Federal Exptoss   PURCHASE                  AUTHORIZED ON           02/13 FEDEJC 485360050            BQ0.<833339   'IN 6301044509738276   W811sFatgo    Postage & Dellvorr          •105.35     8,18525
                                                             CARD3482                                                                                                                 1870
 02/16/2021       Expense             No   USPS              PURCHASE                  Al/THORIZEO ON          02/12 US!'S.COM CUCKNSHI              800<)4.C.7779 DC                 won.Fargo     Posu,go & Dellvc,y           •14,"5     8,170.80
                                                             8301043784501088 CARD3482                                                                                                1671)
 02/16/2021       Expanse             No                     PURCHASE                  AUTHORIZEDON            02/121RONWOK                  SAN DIEGO       CA $30104<071543442      Wo11$FOl!IO   Pom,nmMeals                  '39.54     8,131.26



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                Case 19-05831-LA11                                 Filed 03/18/21                       Entered 03/18/21 15:55:27                                        Doc 201                     Pg. 16 of
                                                                                                          48
                                                                                 Early American Numismatics / Dana Linett
                                                                                                     Transaction Report
                                                                                                        February 2021


DATE            TRANSACTION   NUM ADJ NAUE                   UEMOIDESCRIP'TION                                                                                           ACCOUNT        SPt.lT                     AMOUNT BAIANCE
                TYPE
                                                             CARD3482                                                                                                    1670
 02/16"!021     Expense           No   RockolUIW             RECURRING PAYMENT              AUTHORIZED ON 02/14 ROCKETI.AW 877-757-      WWW.ROCKETUW CA                 WollSFSlgo     PR>!ossionol Foos;Lagal      -39.99     8,091.27
                                                             838104583888437V CARD 3482                                                                                  1870
 02/16/2021     Expense           No                         PURCHASE                  AUTHORIZED ON 02/12 PAYPAl 'JAYINlA122    402-935-7733 CA                         WOIISFctgo     lnvonlOI)' p -                          4,241.27
                                                             S381043844244036 CARD 3462                                                                                  1670           POOlpelltion               3,850.00
 02/17'2021     Elcponso          No   NYE&Co                PURCHASE
                                                             CAR03482
                                                                                       AUTHORIZED ON 02/18SQ 'NYE& CO. SHI      g,,sq-.. NJS5810476588S2005              Welbfa<vo
                                                                                                                                                                         1870
                                                                                                                                                                                        '"'"'"'DI}'-
                                                                                                                                                                                        POSlpalltion
                                                                                                                                                                                                                      -211.00   4,213.27

 02/17f.!021    Expcnsa           No   FodcralE,pcmo         PURCHASE                  AUTHORIZEDON D2115FEDEX"85642212         B004S33339 TN S461046492472474           WollSFat;o     PC$111QO & Delivery         ·124.47     4,068.80
                                                             CARD3482                                                                                                    1670
 02/17/.2021    E,cpenso          No                         RECURRING PAYMENT              AUTHORIZED ON WIS ADOBE CREATIVE CLO          408-53&Wl0CA                   WollSFmgo      So11wwo Exponso              .52.99     4,035.81
                                                             S46104S601501527 CARD 3462                                                                                  1670
 02117/2021     Expense           No   l)n,pbo,              RECURRING PAYMENT              AUTHORIZED ON 02/16 °"'l'bBX 80025CXPRV       Ul-5S576933 CA                 Wa&Fa,go       Sollwar&Exponsa              •11.99     4,023.82
                                                             S301047ll58815533 CARD 3462                                                                                 1670
 02/18/2021     ~                 No   Fodoni!Exproso        PURCHASE                  AUTHOfllZEDON 02/18FEDEX-165847'110      B004S33339 TN SS81047499988455           Wollsforgo     Pos129<> & Dellva,y          -30."3     3,993.39




                                                                                                                                                                                        p-
                                                             CAR03482                                                                                                    1670
 02/1Sl2021     ~
                                                                                                                 O
                                  No                         PURCHASE                  AUTHORIZED ON 02/17 SP USAMERICANA        HTTPSUSAMERIC AZ                        Welbfofgo      lnwn!clyl'tlltlwG            -48.95     3,944...
                                                             S461048582357300 CARD 3462                                                                                  1870           POSlpa!l!!on
 02/18/2021     Expenso           No USPS                    PURCHASE                  AUTHORIZED ON 02/17 USPS.COM CUCKNSHI       BO!h'!44·777B DC                      Wollsfmgo                & Dollvary         -83.80     3,860.64
                                                             S301048803767038 CARD3482                                                                                   1670
 02/1!!/2021    Expanse           No POSl!II Cor:noc:llons   PURCHASE                  AUTHORIZED ON 02/18 POSTAL CONNECTIONS       717,7660335 PA                       WollsR!lgo     Postage & Do!lva,y             ·7.90    3,852.74
                                                             SS810497183112210 CARD3462                                                                                  1670
 02/1!!/2021    Poymer:I          No   EAHA                                                                                                                              Wells Fago     Aa:oumsRoconia!,lo         3,000.00     6,852.74
                                                                                                                                                                         1670
 02/18/2021     Expense           No   Fedora! Exproso       PURCHASE                AUTHORIZED ON      02/17 FEDEX '485927512       800-4633339 TN S4610484621l86089    Wells Fargo    Postage & Dollvo<y          ·173.45     6,879.29
                                                             CARD3482                                                                                                    1670
 02/19/2021     Expense           No   RIUtAlcl              PURCHASE                AUTHORIZED ON      02/19 RITE AID 06711       SAN DIEGO    CA P00000000974762392    Wells Fago     Perwna!Me<11cnl                ·5.00    6,674.29
                                                             CARD3482                                                                                                    11!70          Expeme
 02/19/2021     Expense           No   USPS                  PURCHASE                AUTHORIZED ON      ll2/18 USPS.COM CLICKNSHI        800-344-7779 DC                 Wells Fago     Postage & De!lvory           •11.55     8,662.74




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                                                             S461049811848877 CARD34s:?                                                                                  1670
 ll2/19/2021    Expenso           No   Ell8y                 PURCHASE                AUTHORIZED ON      02/18 eBay 0-17-06601-23     408{!768151 CA 5461049630607842     WellsFmgo      lnvemoryPUldllls8           ·141.61     6,521.13
                                                             CARD3482                                                                                                    1670           PDSlpOlltion
 02/22/21121    Paymenl           No   EAHA                                                                                                                              WellsFmgo                                 2,000.00     8,521.13
                                                                                                                                                                         1870
 02/22/21121    Exponse           No                         PURCHASE                   AUTHORIZED ON 02/19 LIVEAlJCTIONEERS.CO        8988002437 NY                     WellsFmgo      ltM!moryPutd>aso                        7,100.83
                                                             S581050661l87<ll32 CARD3482                                                                                 1670           l'llslpetltJan             1,420.50
 02/22/21121    Expense           No                         PURCHASE                   AUTHORIZED ON   02/19 SKINNER  INC.      508-9703226 MA 5301050646947677         WellSFergo     lnvemo,y Pun:hase           -225.00     6,875.83
                                                             CARD3482                                                                                                    1670           P0$1p0111ion
 02/22/2021     Ex-               No                         PURCHASE                    AUTHORIZED ON 02/18 SCRIPPS MEDICALFOU        SAN DIEGO CA                      WollsFmgo      Pal!OllSI Modical            •10.00     8,865.83
                                                             S48104982302a386 CARD3482                                                                                   1670           Expense
 02/22/2!)21    Expense           No   Fodoral E:qxass       PURCHASE                    AUTHORIZED ON ll2/20 FEDEX 4581116!17      800-4633339 TN S581051616093896      Wells f"'IIO   Postage & De!lvlll)'        {123.61     6,542.02
                                                             CARD3482                                                                                                    1670
 02/22/21121    Expenso           No Slntor BIOS             PURCHASE                    AUTHORIZED ON  om,   STATERSR0S1S79909CARMaSAN DIEGO CA                         WellSFe,go     PllfSOMIGn,oarles           -155.89     8,388.33
                                                             PII046105270ll838303 CARD 3462                                                                              1670
 02/22/21121    Expansa           No   RltaAlcl              PURCHASE                   AUTHORIZED ON 02'22 RITE AID 06711        SAN DIEGO CA P0000000058l2S5523        W.lloFmgo      Pel!OllSIMedloal            ·118.00     8,270.33
                                                             CAR03482                                                                                                    1870           Expense
 02/22/21121    Expense           No                         PURCHASE                    AUTHORIZED ON 02/20 PAYPAL 'HISTORYPUI        402-935-7733 CA                   WOllsFmgo      Inventory Pu""'8se          -107,00     6,163.33
                                                             S58105174BOZ3297 CARD 3462                                                                                  1870           Postpelillon
 02/22/21121    Expen,a           No   Colbonlla Saclwp      PURCHASE                    AUTHORIZED ON 02/20 CRa"CARBONITE BACK         877-6654458 MA                   WellsFmgo      Soflwaro Expense             -83.99     6,079.34
                                                             5301052219710197 CARD 3482                                                                                  1670
 02/22/21121    Expense           No Fodoral Express         PURCHASE                    AUTHORIZED ON 02116 FEOEX 486001353        800-4833339 TN 6301049481735873      Wcllsf"'IID    Postage & De!lvlll)'         -42.44     8,038.80
                                                             CARD3462                                                                                                    1670
 02l22J2021     Expanse           No   USPS                  PURCHASE                    AUTHORIZED ON 02119 USPS.COM CUCKNSHI         800-344-7779 DC                   Wells Fargo    Postage & Dellvlll)'        ·147.75     5.889,15
                                                             5301050798650681 CARD3462                                                                                   1870
 02/23/2021     Expon,o           No   Ebay                  PURCHASE                    AUTHORIZED ON D2122eBay0"27-06620-91      408-3700151 CA 546105352744790B       WollsFe,go     lnvonlo,yPun:haSO           -102.50     5,786.65
                                                             CARD3482                                                                                                    1870           Pos1petltlon
 02/23J2021     Expanse           No                         PURCHASE                    AUTHORIZED ON 02122 PAYPAL 'PAPERTRL E       402·935-7733 CA                    Wel!sFa,go     lnvemo,yP-                  -434.27     5,352.38
                                                             5301053622387506 CARD :k62                                                                                  11!70          Poslpotltlon
 02/23J2021     Expanse           No                         RECURRING PAYMENT                 AUTHORIZED ON 02r.!2 DIIH"GODADDY.COM         480-S058855PZ               WellSFargo     SOftwaro Expense             -12.99     5,339.39
                                                             S581053467825504 CARD3462                                                                                   1670
 02/23/2021     Expense           No   PostalComor           PURCHASE                    AUTliORIZED ON 02fZ3 Postal Comer     Encinitas CA P00381054792009256           WollsFa,go     Postage & Oll!lva,y         -206.10     5,133.29
                                                             CARD3482                                                                                                    1670
 02/23/2021     Expense           No                         PURCHASE                    AUTHORIZED ON 02r.!2 PAYPAL 'SKRUSKAI.I.     402-935-7733 CA                    Wo11s Fa,vo    lnwnlo,y Putchase           -154.80     4,978.49
                                                             S301053823891419 CARD3462                                                                                   1870           POSlpOll1ion
 02/23/2021     Expensa           No                         PURCHASE                    AUTHORIZED ON D2r.!2 PAYPAL ·sncKL.ELIS     4Q2.93S.7733 CA                     WollsFa,go     lnvCnlOI}' 1'ulellllso       -67.SS     4,910.94
                                                             S381053G2595l!543 CARD3462                                                                                  1670           Pcs<petilion
 02l24l3l21     Expense           No                         PURCHASE                    AUDIORIZEDON 02/23 PAYPAL 'SKRUSKALL         402-93£.7733 CA                    WellsF,rgo     lnvento,yPun:hose            ,35.60     4,875.44
                                                             S3B1054S04l18271 CARO 346:?                                                                                 1670
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                                                                                     AUTHORIZED ON 02/23 oBay 0'1>7-1)6628·70
                                                                                                                                    600-4633339 TN S381053478722517

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 02/25/2021     llOpoSi1          No                         PURCHASE RETURN                AUTHORIZED ON 02/24 oBey 0-21H16632-88      4013-3766151 CA                  WellsF,rgo     tnvanlol)' Purdloso             8.00    4,549.31
                                                             6381055665148755 CARD 3482                                                                                  1870           ~
 0212512021     Expense           No Ell8y                   PURCHASE                AUTHORIZED ON 0212• oBay 0'20-06832-88       408-3700151 CA 658105559547:1895       WellsFm;o      tnvanlol)' Pun:haso          -82.07     •,487.24
                                                             CAR03482                                                                                                    1870           ~
 02/2Sl2021     E,penso           No Ell8y                   PURCHASe                 AUTHORIZED ON 02/24 eBay O'ZJ..06632-55     408-3766151 CA S3010S5598684300        WollsR!lgo     lnvcn1o,y Putchase           -73.00     ,4,414.24
                                                             CARD3482                                                                                                    11!70          Po,;lpetl1lon
 02/25/2021     Expense           No   FodomlE,po,oa         PURCHASE                AUTHORIZED ON 02fZ3 FEDEX 488489509          800-4833339 TN SS81054495020149        WaOsFmgo       Pnstago & DoliVOf)'          -99.48     4,3U.78
                                                             CARD3482                                                                                                    1870
 02/26/2021     Expense           No   CoUIICllll            PURCHASE                AUTHORIZED ON 02/25 COURTCALL '1111           311),,'!42-0888 CA S381055826870944   WoDsFo,go      Prolassional Foos:l.ogal     -94.00     4.220,76
                                                             CARD3482                                                                                                    1670
 02/26/2021     Expense           No   Federall:xpnm         RECURRING PAYMENT               AIJIHORIZED ON 02/25 FEDEX468709400           B00-1633339 TN                We!bF,rgo      Postage & Oe!iw,y            -95.34     4,125.42
                                                             6301056470599403 CARD 3482                                                                                  1670
 02r.!6/2021    ~                 No    Federal El<ptoss     PURCHASE                 AUTHORIZED ON 02/24 FEDEX 486597939         B00-4S33339 TN S4S105546161B115        WellSFugo      POSlage & Dellvlll)'        ·124.96     4,000.48
                                                             CARD3482                                                                                                    1671)
 02r.!6/2021    Expense           No   Elmy                  PURCHASE                 AUTHORIZEDON 02125oBay0-14-06639-81         408-3766151 CA $461056683521459        WellsFslgo     ll1Y8nlOl)'l'tlltlwG         -eaoo      3,934.48
                                                             CAR03482                                                                                                    1670           Pm,poti1lDn
Tctai far Web"- 11170                                                                                                                                                                                              S1Gi5.07
101'.Al.                                                                                                                                                                                                           $155.07




                                                                                     Aamol Bab Tuasday, M=efl 11$.202101:32PMGMT-07:00                                                                                               2/2
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                                        WELLS FARGO ACCOUNT
                                        BANK RECONCILIATION*

Balance per bank statement dated:

Plus deposits in transit (a):

            Deposit Date                      Deposit Amount



            SEE ATTACHED BANK RECONCILATION

            Total deposits in transit                                       $

Less outstanding cheoks (a):

             Check Number        Check date   Check Amount




            Total outstanding checks                                        $

Bank statement adjustments-

Adjusted bank balance                                                       $
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                                                          Early American Numismatics I Dana Linett
                                                            Wells Fargo 1670, Period Ending 02/28/2021

                                                                     RECONCILIATION REPORT
                                                                      Reconciled on: 03/15/2021

                                                          Reconciled by: sdaccountingservices@cox.net null

Any changes made to transactions after this date aren't included in this report.

Summary                                                                                                                                            USD

Statement beginning balance__          - - - - - - - - - - - - - - - - - - - · - - - - - - - - - - - - - -.. -···-·--··---------······ 2,579.39
Checks and payments cleared (83)___________________                      -------------·----------·-·-----·----·..---·--·12,507.36
Deposits and other credits cleared (8)                                                                                       - - - - - 12,662.43
Statement ending balance                                                                                                 - - - - - - - - 2,734.46
Uncleared transactions as of 02/28/2021 ______________________________________.._ _ _ _ ,___________1,200.00
Register balance as of 02/28/2021                         - - · - - - - - - - - - · - - - - - - -..·-·---·-···..·--··---····3,934.46
Cleared transactions after 02/28/2021                                                                  - - - - - - - - - · - - · 0.00
Uncleared transactions after 02/28/2021____ --------------·-------------------                                                 -1,605.13
Register balance as of 03/15/2021_____________________________                                             - - - - - - - - - - 2,329.33



Details

Checks and payments cleared (83)

DATE                             TYPE                              REF NO.                        PAYEE                                  AMOUNT (USD)
02/01/2021                       Expense                                                          Federal Express                               -36.09
02/01/2021                       Expense                                                          NYE&Co                                        -21.00
02/01/2021                       Expense                                                                                                        -24.46
02/02/2021                       Expense                                                          Google                                        -12.00
02/02/2021                       Expense                                                          Google                                        -12.00
02/02/2021                       Expense                                                                                                           -0.99
02/03/2021                       Expense                                                                                                        -28.16
02/03/2021                       Expense                                                          Google                                        -30.00
02/03/2021                       Expense                                                          Federal Express                              -159.76
02/04/2021                       Expense                                                          Federal Express                              -217.65
02/04/2021                       Expense                                                          Amazon                                         -6.48
02/05/2021                       Expense                                                          Federal Express                               -39.96
02/05/2021                       Expense                                                                                                           -4.99
02/05/2021                       Expense                                                                                                           -0.99
02/08/2021                       Expense                                                          Federal Express                               -86.00
02/08/2021                       Expense                                                          Stater Bros                                   -96.28
02/08/2021                       Expense                                                          Federal Express                              -109.88
02/08/2021                       Expense                                                          Stater Bros                                   -41.26
02/08/2021                       Expense                                                                                                        -16.00
02/08/2021                       Expense                                                                                                        -55.00
02/08/2021                       Expense                                                          HOmeDepot                                     -71.66
02/09/2021                       Expense                                                          Ebay                                          -71.00
02/09/2021                       Expense                                                                                                        -49.78
02/10/2021                       Expense                                                          Federal Express                              -104.84
02/12/2021                       Expense                                                          Postal Comer                                  -81.85
02/12/2021                       Expense                                                                                                         -9.43
02/12/2021                       Expense                                                          Vons                                          -61.26
02/12/2021                       Expense                                                          Leslie Hindman Auctionee                      -98.88
02/16/2021                       Expense                                                          Costco                                         -7.99
02/16/2021                       Expense                                                                                                         -9.99
02/16/2021                       Expense                                                                                                      -3,850.00
02/16/2021                       Expense                                                          Rocketlaw                                      -39.99
02/16/2021                       Expense                                                                                                        -39.54
02/16/2021                       Expense                                                          USPS                                          -14.45
02/16/2021                       Expense                                                          Federal Express                              -105.35
02/16/2021                       Expense                                                          Ebay                                         -567.08
02/16/2021                       Expense                                                          Costco                                       -467.37
02/16/2021                       Expense                                                          Ebay                                         -251.40
02/16/2021                       Expense                                                          Ebay                                          -95.90
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                                                                                                            .?»/1-fb
DATE                             TYPE                  REF NO.               PAYEE                            AMOUNT (USD)
02/16/2021                      Expense                                      Ebay                                      -54.95
02/16/2021                      Expense                                      Costco                                   -54.00
02/16/2021                      Expense                                      Dropbox                                   -11.99
02/16/2021                      Expense                                      Ebay                                      -27.45
02/16/2021                      Expense                                      Ebay                                     -49.45
02/17/2021                      Expen~e                                      Federal Express                         -124.47
02/17/2021                      Expense                                      Dropbox                                   -11.99
02/17/2021                      Expense                                                                               ·52.99
02/17/2021                      Expense                                      NYE&Co                                   -28.00
02/18/2021                      Expense                                      USPS                                     -83.80
02/18/2021                      Expense                                      Federal Express                          -30.43
02/18/2021                      Expense                                                                               -48.95
02/19/2021                      Expense                                      Postal Connections                         -7.90
02/19/2021                      Expense                                      Federal Express                         -173.45
02/19/2021                      Expense                                      Rite Aid                                   -5.00
02/19/2021                      Expense                                      USPS                                      -11.55
02/19/2021                      Expense                                      Ebay                                    -141.61
02/22/2021                      Expense                                      Carbonite Backup                         -83.99
02/22/2021                      Expense                                                                              -107.00
02/22/2021                      Expense                                      Rite Aid                                -116.00
02/22/2021                      Expense                                      Stater Bros                             -155,69
02/22/2021                      Expense                                      Federal Express                         -323.61
02/22/2021                      Expense                                                                               -10.00
02/22/2021                      Expense                                                                              -225.00
02/22/2021                      Expense                                                                            -1,420.50
02/22/2021                      Expense                                      USPS                                    -147.75
02/22/2021                      Expense                                      Federal Express                          -42.44
02/23/2021                      Expense                                                                             -154.80
02/23/2021                      Expense                                                                             -434.27
02/23/2021                      Expense                                      Postal Comer                           -206.10
02/23/2021                      Expense                                                                              -67.55
02/23/2021                      Expense                                                                              -12.99
02/23/2021                      Expense                                      Ebay                                   -102.50
02/24/2021                      Expense                                      Ebay                                   -103.20
02/24/2021                      Expense                                      Ebay                                     -10.12
02/24/2021                      Expense                                                                               -35.50
02/24/2021                      Expense                                      Federal Express                        -218.81
02/25/2021                      Expense                                      Ebay                                     -73.00
02/25/2021                      Expense                                      Federal Express                          -99.48
02/25/2021                      Expense                                      Ebay                                    -62.07
02/26/2021                      Expense                                      Courteau                                -94.00
02/26/2021                      Expense                                      Federal Express                        -124.96
02/26/2021                      Expense                                      Federal Express                         -95.34
02/26/2021                      Expense                                      Ebay                                    -66.00

Total                                                                                                           -12,507.36

Deposits and other credits cleared (8)

DATE                             TYPE                  REF NO.               PAYEE                            AMOUNT (USD)
02/03/2021                      Journal               45                                                           3,600.00
02/08/2021                      Deposit                                      HOme Depot                               21.52
02/08/2021                      Deposit                                      HOme Depot                               13.39
02/12/2021                      Receive Payment                              EAHA                                  4,000.00
02/16/2021                      Deposit                                      HOme Depot                               21.52
02/19/2021                      Receive Payment                              EAHA                                  3,000.00
02/22/2021                      Receive Payment                              EAHA                                  2,000.00
02/25/2021                      Deposit                                                                                6.00

Total                                                                                                            12,662.43


Additional Information
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                                              D. SUMMARY SCHEDULE OF CASH

   ENDING BALANCE FOR PERIOD:

                GENERALACCOUNT4446                                                               $    7,039.96
                PAYROLL ACOUNT 4453                                                              $      100.00
                TAX ACCOUNT 4461                                                                 $      100.00
                WELLS FARGO ACCOUNT 1670                                                         $    3,934.46
                PETTY CASH                                                                       $
                COSTCO CASH CARD 3850                                                            $
                WALMART CASH CARD 4456                                                           $
                WALMART CASH CARD 6211                                                           $
                WALMART CASH CARD 6229

                                                                                                 $ 11,174.42




   TOTAL CASH AVAILABLE

*Specify the fund and the type of holding (i.e. CD, Savings Account, Investment Securities, etc.), and the depository name,
location, and account number.
-Attach exhibit itemizing all petty cash transactions.




NOTE: Attach copies of monthly account statements from financial institutions for each account
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                  2. STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS,
                        AND OTHER PARTIES TO EXECUTORY CONTRACTS
                           ......., ......,   ,-T                                  ,..U~ I •,-i;:; 111 IUN
                          OF PAYMENTS                     AMOUNT OF                PAYMENTS NOT
 CREDITOR LESSOR, ETC.      (Mo./Qtr.)                     PAYMENT                 MADE (NUMBER)                    TOTAL DUE
PHH Mortgage              Monthly                     $           7,166.41                                   12 $      85,996.92
US Bank - HELOC           Monthly                     $           2,600.00                                   12 $      31,200.00




                                                                             TOTAL DUE                          $     117,196.92




                                                    3. TAX LIABILITIES

FOR THE REPORTING PERIOD:                                                                                       $
                        GROSS SALES SUBJECT TO SALES TAX                                                        $
                        TOTAL WAGES PAID                                                                        $


                                                        TOTAL POST-                                                DATE
                                                      PETITION AMOUNTS               AMOUNT                     DELINQUENT
                                                            OWING                   DELINQUENT                  AMOUNT DUE
FEDERAL WITHHOLDING                                   $             -
STATE WITHHOLDING                                     $                  -
FICA - EMPLOYER'S SHARE                               $                  -
FICA - EMPLOYEE'S SHARE                               $                  -
FEDERAL UNEMPLOYMENT                                  $                  -
STATE EMLOYERS TAX                                    $                  -
SALES AND USE                                         $                  -   - .
                                                                                                                       --   ..   )
REAL PROPERTY                                         $                  -                                                           -
OTHER: (SPECIFY)
TOTAL                                                 $                  -   $
                                                                                               -
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                                             4. AGING OF ACCOUNTS PAYABLE AND ACCOUNTS RECEIVABLE

                                                     ACCOUNTS PAYABLE•                   ACCOUNTS RECEIVABLE
                                                     (POST-PETITION ONLY)               Pre-Petition   Post-Petition
30 days or less                                                                                      $    29,727.00
31 -60 days                                                                                          $    22,393.07
61 -90 days
91 -120 days
Over 120 days
Totals                                               $                          -   $               -   $     52,120.07


5. INSURANCE COVERAGE

                                                                                                            l"'VL.l\,1

                                                                                     AMOUNT OF          EXPIRATION PREMIUM PAID
                                                          NAME OF CARRIER            COVERAGE              DATE       THROUGH
General Liability - Real Prop. - Residence           Chubb                          $ 4,478,000.00          6/21/2021    3/27/2021
General Liability - Personal Property                Chubb                          $ 2,239,000.00          6/21/2021    3/27/2021
Extended Llablllty
General Liability - Vehicles                         Chubb                                                     6/21/2021           3/27/2021




6. UNITED STATES TRUSTEE QUARTERLY FEES
(TOTAL PAYMENTS)

                                                                                                                                               1..1my t-ee ;:,011
                  Qtrty Period Ending                     Total Disbursements           QtrlyFees           Date Paid          Amount Paid          Owing

                                         9/30/2019                                  $         325.00          11/20/2019   $         325.00
                                        12/31/2019                                  $         975.00           1/22/2020   $         975.00
                                         3/31/2020                                  $         975.00            5/5/2020   $         975.00
                                         6/30/2020                                  $         975.00           7/29/2020   $         975.00
                                         9/30/2020                                  $         325.00          10/30/2020   $         325.00
                                        12/31/2020                                  $         975.79           1/20/2021   $         975.79




"Post-Petition Accounts Payable should not include professionals' fees and expenses which have been incurred but
not yet awarded by the court. Post-Petition Accounts Payable should include professionals' fees and expenses
authorized by Court Order but which remain unpaid as of the close of the period of the report.
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                          7. SCHEDULE OF COMPENSATION PAID TO INSIDERS

                                        Date of Order
                                         Authorizing               Authorized Gross          Gross Compensation
        Name of Insider                 Compensation                Compensation             Paid During the Month

N/A




* Please indicate how compensation was identif,ed in the order (e.g. $1,000/wk; $2,500/mo)




                          8. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                         Date of Order
                                          Authorizing                                        Amount Paid During the
       Name of Insiders                    Payment                     Description                  Month

Dana Linett                                      12/2/2019    Mortgage                       $                  -
Dana Linett                                      12/2/2019    Medical Expense                $              819.14
Dana Linett                                      12/2/2019    Utilties                       $              515.48
Dana Linett                                      12/2/2019    Personal Misc.                 $              456.75
Dana Linett                                      12/2/2019    Groceries                      $              908.31
Dana Linett                                      12/2/2019    Personal Meals                 $               48.97
Dana Linett                                      12/2/2019    HELOC                          $                  -
Dana Linett                                      12/2/2019    Personal Clothing              $                  -
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                                               9. PROFIT AND LOSS STATEMENT
                                                    (ACCRUAL BASIS ONLY)
                                                                                                Cumulative
                                                                        Current Month          Post-Petition
Sales/Revenue:
          Gross Sales/Revenue

Cost of Good Sold:
          Beginning Inventory at cost
          Purchases
          Less: Ending Inventory at costs
          Cost of Goods Sold (COGS)                                                $0.00                  $0.00

Gross Profit                                                        $                      $

            Other Operating Income (Itemize)

                                                                   SEE ATTACHED
Operating Expenses:
          Payroll - Insiders                                        $
          Payroll - Other Employees                                 $
          Payroll Taxes                                             $
          Other Taxes (Itemize)                                     $
          Depreciation and Amortization                             $
          Rent Expense - Real Property                              $
          Insurance
          Real Property Taxes
          Telephone and Utilities                                   $
          Repairs and Maintenance                                   $
          Travel and Entertainment {Itemize)                        $
          Miscellaneous Operating Expenses (Itemize)                $
             Bank service charge                                    $

            Total Operating Expenses                                $                      $

            Net Gain/(Loss) from Operations                         $                      $

Non-Operating Income:
         Interest Income
         Net Gain on Sale of Assets (Itemize)
         Other {Itemize)
         Total Non-Operating Income                                 $                      $

Non-Operating Expenses:
         Interest Expense                                           $                      $
         Legal and Professional {Itemize)                           $                      $
         Other (U.S. TRUSTEE FEES)                                  $
         Total Non-Operating Expenses                               $                      $

Net lncome/(Loss)                                                   $                      $




      (Attach exhibit listing all itemizations required above)
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                                   Early American Numismatics / Dana Linett
                                                           Profit and Loss
                                                            February 2021


                                                                                                                     TOTAL
Income
  Auction Sales through EAHA                                                                                     29,727.00
  Ebay Sales                                                                                                        315.95
Ietal.Jnce.me                                                                                                   $36.842.95
Cost of Goods Sold
 Cost of Goods Sold                                                                                              11,190.00
 Merchant Account Fees                                                                                                5.07
Ietal Cast at Geads-Sald                                                                                        $1U95.El7
GROSS PROFIT                                                                                                    $18.84Z.88
Expenses
 Automobile Expense
  Registration                                                                                                         24.00
 Ietal..Autamalaille.f:>!pense                                                                                        ..24..88
 Bank Service Charges                                                                                                 15.00
 Bookkeeping                                                                                                       1,000.00
 Commerical Loan Payment                                                                                           1,200.00
 Dues & Subscriptions                                                                                                109.00
 Equalization Payment to B.Linet                                                                                   6,500.00
 Office Supplies                                                                                                       6.48
 Paralegal Assistance                                                                                              1,000.00
 Pest Control                                                                                                         82.95
 Postage & Delivery                                                                                                3,150.22
 Professional Fees
  Legal                                                                                                          25,473.99
 IatalP.mfeslmmal..Fees                                                                                          ..25..413..99
 Repairs and Maintenance                                                                                              15.23
 Software Expense                                                                                                    212.10
 Telephone Expense                                                                                                    50.62
 Utilities
  Electricity                                                                                                        201.86
  Trash                                                                                                              132.47
  Water                                                                                                              181.15
 I etal. Util.lltss                                                                                                 -6:15.48
Tetal.Expanses                                                                                                  $39.355..8.7
NET OPERATING INCOME                                                                                           $-.28,58.Z..19
NET INCOME                                                                                                     $-.28,58.Z..19




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                              Early American Numismatics/ Dana Linett
                                                       Profit and Loss
                                          September 30, 2019 ~ February 28, 2021



                                                                                                              TOTAL
Income
 Auction Sales through EAHA                                                                               468,549.35
 Consigned Sales                                                                                          107,912.89
 Ebay Sales                                                                                                36,105.47
 Merchandise Sales                                                                                         15,883.15
Tatal.Jncame                                                                                             $628,.458.86
Cost of Goods Sold
 Cost of Goods Sold                                                                                       168,761.43
 Grading Fee                                                                                                  742.00
 Merchant Account Fees                                                                                         43.92
 Sellers Fees                                                                                               2,072.75
Tata!. Cast Elf Geeds-Seld                                                                               $171,.628.18
GROSS PROFIT                                                                                             $458,838.76
Expenses
 Advertising and Promotion                                                                                    492.50
 Automobile Expense
  Gas                                                                                                       1,702.91
  Parking                                                                                                      95.25
  Registration                                                                                                720.00
  Repairs & Maintenance                                                                                       596.16
  Roadside Assitance                                                                                           52.00
 Tetal..Autameh11e .Expense                                                                                 3.166.32
 Bank Service Charges                                                                                         363.03
 Bookkeeping                                                                                               12,838.50
 Commerical Loan Payment                                                                                   23,268.62
 Computer and Internet Expenses                                                                               934.25
 Contract Labor                                                                                               235.00
 Court Expenses                                                                                               347.37
 Dues & Subscriptions                                                                                       1,476.10
 Equalization Payment to 8.Linet                                                                           75,000.00
 HELOC Payment                                                                                             13,786.90
 Insurance Expense                                                                                          3,322.96
  Auto                                                                                                      1,675.78
  Dental                                                                                                      600.93
  Earthquake                                                                                                2,462.20
  Excess                                                                                                      636.02
  Health                                                                                                      406.50
  Homeowners                                                                                                6,209.09
 Tetal..lnsl.lrance~                                                                                       15.313..48
  Janitorial Expense                                                                                          250.00
  Meals and Entertainment                                                                                   2,611.16




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                             Early American Numismatics / Dana Linett
                                                     Profit and Loss
                                        September 30, 2019 - February 28, 2021


                                                                                                              TOTAL
 Mortgage Payment                                                                                          36,890.30
 Office Supplies                                                                                            9,531.49
 Paralegal Assistance                                                                                       7,648.50
 Pest Control                                                                                                 248.85
 PO Box Rental                                                                                              1,501.00
 Postage & Delivery                                                                                        34,384.51
 Professional Fees                                                                                          5,500.00
  Legal                                                                                                   332,057.26
 Tetal.P.mfe8$tanal..Fees                                                                                 331'..55Z.2S
 Repairs and Maintenance                                                                                   10,871.99
 Safe Deposit Box Rental                                                                                    1,314.95
 Sales Tax Paid                                                                                               -11.52
 Security Alarm                                                                                             1,692.29
 Software Expense                                                                                           3,361.02
 Taxes
  Business Property                                                                                           660._!57
 Tetal. Taxes                                                                                                 668..57
 Telephone Expense                                                                                          2,978.31
 Travel                                                                                                     1,234.55
 US Trustee Quarteriy Fees                                                                                  4,550.79
 Utilities                                                                                                    777.10
  Cable & Internet                                                                                          4,451.70
  Electricity                                                                                               4,537.21
  Propane                                                                                                      65.00
  Trash                                                                                                     2,198.25
  Water                                                                                                     4,837.62
 Tata!. Uf1111ies                                                                                          16,866.88
Tatal..E,g:,enses                                                                                        $621,364.97
NET OPERATING INCOME                                                                                    $-16,4Ji34.21
NET INCOME                                                                                              $-164,534.21




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                                             10. BALANCE SHEET
                                           {ACCRUAL BASIS ONLY)

ASSETS                                                   Current Month End
Current Assets:
          Unrestricted Cash                              $
          Restricted Cash                                $
          Accounts Receivable                            $
          Inventory                                      $
          Notes Receivable                               $
          Inventory                                      $
          Notes Receivable                               $
          Prepaid Expenses: Legal                        $
          Other (Itemize)                                $
          Total Current Assets                                               $

                                                             SEE ATTACHED
Property, Plant, and Equipment                           $
Accumulated Depreciation/Depletion
           Net Property, Plant, and Equipment                                $

Other Assets (Net of Amortization):
          Due fromm Insiders                             $
          Other (Itemize}                                $
          Property held for Sale - Wise Rd               $
          Total Other Assets                                                 $

TOTAL ASSETS                                                                 $
                                                                             $
LIABILITIES
Postpetition Liabilities:
           Accounts Payable                              $
           Taxes Payable                                 $
            Notes Payable                                $
            Professional Fees                            $
            Secured Debt                                 $
           Other (Itemize)                               $
               Accrued Branch Manager Payroll            $
               Accrued payroll                           $
               Deferred Revenue                          $
               Garnishments                              $
               Health Insurance Liabilities              $
            Total Postpetition Liabilities                                   $

Prepetition Liabilities:
           Secured Liabilities                           $
           Priority Liabilities                          $
            Unsecured Liabilities                        $
            Other (Itemize)                              $
           Total Prepetition Liabilities                                     $

TOTAL LIABILITIES                                                            $

EQUITY:
        Prepetition Owners' Equity                       $
        Postpetition ProfiU(Loss)                        $
        Direct Charges to Equity
TOTAL EQUITY                                                                 $

TOTAL LIABILITIES & EQUITY                                                   $
      Case 19-05831-LA11              Filed 03/18/21          Entered 03/18/21 15:55:27         Doc 201   Pg. 29 of
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                                Early American Numismatics / Dana Linett
                                                         Balance Sheet
                                                     As of February 28, 2021


                                                                                                                 TOTAL
ASSETS
 Current Assets
  Bank Accounts
  Costco Cash Card 3850                                                                                            0.00
   Petty Cash                                                                                                    400.00
   US Bank 4446 - General                                                                                      7,039.96
   US Bank 4453 - Payroll                                                                                        100.00
  US Bank 4461 - Tax                                                                                             100.00
  Walmart Money Card 4104                                                                                          0.00
  Walmart Money Card 4556                                                                                        755.42
  Walmart Money Card 6211                                                                                        -10.00
  Walmart Money Card 6229                                                                                         -7.60
  Wells Fargo 1670                                                                                             3,934.46
 Tetal..Bank..Aceaunts                                                                                       $12,312.24
  Accounts Receivable
  Accounts Receivable                                                                                         52,120.07
 Tetal...Acceu.nts.Recentable                                                                                $52.128.87
  Other Current Assets
  Holding Account Transfer                                                                                     17,459.87
  Inventory Prepetition                                                                                     1,277,478.50 .
  Inventory Purchase Postpetition                                                                             121,730.20
  Prepetition Assets
   Legal Retainer - Denise Lynch                                                                                 500.00
   Legal Retainer - Mary Lehman                                                                                1,500.00
   Loan to son-in-law made by ex-w                                                                           104,000.00
   Mens Clothing                                                                                                 850.00
   Prepaid Legal Fees                                                                                         14,807.00
   TD Ameritrade SEP/IRA                                                                                       4,500.00
  Iatal.P1epeffll:a.n.Assets                                                                                 126,.157~88
  Tata!. Other Current.Assets                                                                              $1J>42.825.51
 Tetal. Current.Assets                                                                                     $U81.,257..88




                                     Accrual Basis Tuesday, March 16, 2021 01:38 PM GMT-07:00                         1/4
       Case 19-05831-LA11             Filed 03/18/21          Entered 03/18/21 15:55:27        Doc 201   Pg. 30 of
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                                Early American Numismatics/ Dana Linett
                                                         Balance Sheet
                                                    As of February 28, 2021



                                                                                                                  TOTAL
 Fixed Assets
  Ford Material Held in Trust                                                                              2,425,000.00
  Prepetition Fixed Assets                                                                                      -676.88
   14810 Rancho Santa Fe Farms Hom                                                                         2,800,000.00
   1964 Ford Mustang                                                                                           5,000.00
   1997 Stratus 22' Boat                                                                                       6,000.00
   2003 Chevy Suburban                                                                                         4,500.00
   2013 Chevy Malibu                                                                                           7,500.00
  2014 Craftsman 24hp mower                                                                                      500.00
   Homegoods & Appliances                                                                                     15,150.00
   Numismatic Items - Non Inventor                                                                           524,000.00
   Office Furniture                                                                                            1,700.00
  Ietal.P1e_peffltan.Ebced.Assets                                                                          3,363,673.12
           ·-     .....
 Iatal..F.lxed.Assets                                                                                     $5.700.673.12
 Other Assets
 Due from EES                                                                                                     200.00
 Ietal. Other.Assets                                                                                             $288.88
TOIAL.ASSEIS                                                                                              $1..396,13-1..88




                                    Accrual Basis Tuesday, March 16, 2021 01:38 PM GMT-07:00                         2/4
        Case 19-05831-LA11                 Filed 03/18/21          Entered 03/18/21 15:55:27        Doc 201   Pg. 31 of
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                                     Early American Numismatics / Dana Linett
                                                             Balance Sheet
                                                         As of February 28, 2021


                                                                                                                      TOTAL
LIABILITIES AND EQUITY
 Liabilities
  Current Liabilities
   Other Current Liabilities
    Accrued Legal Fees                                                                                           285,306.32
    PrePetition Adv on Consigned                                                                                 119,940.00
   Tetal. Other Cwmnt Ilabllfftes                                                                               $485,246.32
  Tata!. Current llal'!Ulff9s                                                                                   $485.246.32
  Long-Term Liabilities
   Prepetition Liabilities
    Bank of America Credit Card                                                                                    60,367.83
    Barbara Linett                                                                                              2,331,778.00
    Beatrice Snider, Esq.                                                                                         884,054.79
    Citi Advantage Credit Card                                                                                     86,401.52
    Citi Costco Credit Card                                                                                        73,602.70
    Deborah Linett                                                                                                259,231.16
    Franchise Tax Board                                                                                             4,000.00
    Internal Revenue Service                                                                                       30,000.00
   JP Morgan Credit Card                                                                                           61,978.70
   Julia Garwood, Esq                                                                                             113,000.00
    Linda Cianciolo, Esq                                                                                            3,000.00
    Linda Papst deLeon, Esq                                                                                       108,685.00
    Popular Mortgage                                                                                            1,322,324.46
    Stephen Temko, Esq                                                                                              4,723.00
    US Bank Commercial                                                                                            250,000.00
    US Bank Credit Card 0561                                                                                       47,939.01
    US Bank Credit Card 1694                                                                                        2,440.24
    US Bank Credit Card 5704                                                                                       20,798.18
    US Bank Credit Card 6031                                                                                       19,304.25
    Us Bank Credit Card 7212                                                                                       12,978.00
    US Bank HELOC                                                                                                 488,660.24
   Tetal.P.re_pefilian llailllltes                                                                              6.1.85.267~88
  Tetal.J.ang-Jerm llab11lttes                                                                                 $8.185,267~88
 JetaJ Uae1tlfies                                                                                              $6,596,.51a.48
  Equity
  Opening Balance Equity                                                                                          sn,s61.12
  Owners Equity                                                                                                   -51,827.54
   Personal Clothing                                                                                                 -1n.s1
   Personal Groceries                                                                                             -12,172.34
   Personal Meals                                                                                                  -2,002.27
   Personal Medical Expense                                                                                        -4,480.06




                                         Accrual Basis Tuesday, March 16, 2021 01:38 PM GMT-07:00                        3/4
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                              Early American Numismatics/ Dana Linett
                                                       Balance Sheet
                                                   As of February 28, 2021



                                                                                                                TOTAL
 Personal Misc.·                                                                                            -23,837.28
 Transfer from Prepetition Funds                                                                             32,328.35
 Net Income                                                                                                  -9,774.87
 I etal..EqUlly                                                                                           $885.611.68
TOIAL.LlABIUIIES.AND .EQUIIY                                                                             $7.,396.131..88




                                   Accrual Basis Tuesday, March 16, 2021 01:38 PM GMT-07:00                         414
       Case 19-05831-LA11                  Filed 03/18/21           Entered 03/18/21 15:55:27                   Doc 201       Pg. 33 of
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                                                              11. QUESTIONNAIRE

1)    Has the debtor-in possess in made any payments on its pre-petition unsecured debt except as have been authorized by the court?

X     No
_ _ _ Yes          Explain:

2)    Has the debtor-in possession during this reporting period provided compensation or remuneration to any officers, directors,
      principals, or other insiders without appropriate authorization?.

x     No
_ _ _ Yes          Amount, to whom, and for what period?

3)     State what progress was made during the reporting period toward filing a plan of reorganization:
     · Debtor's Plan was rejected by the Court, the Debtor and creditor Barbara Linett are in discussions regarding a potential liquidating plan
      using a liquidating trust that may be acceptable to both parties.

4)    Describe potential future develpments which may have a significant impact on the case:
      Outcome of Adversarial Action and Appeal against Barbara Linett.
      Perding status of Covid-19 stay at home orders and economic recession as a result.
      Submission of a liquidating plan or potential conversion
5)    Attach copies of all Or<;lers. granting relief from the automatic stay that were entered during the reporting period.

6)    Did you receive any exempt income this month, which is not set forth in the operating report?

x     No
      Yes.         Please set forth the amounts and the source of the income.
---

      I, Dana Aaron Linett, declare under penalty of perju~-;;,at I have fuHy read~nd understood the foregoing
      debtor-in-possession operating report and that the iriformati~.n contained h rein is true and complete to the
      best of my knowledge.                               \          \\
                                                             1 .    ('\
                                                                      \   ,_____      \.



       3/18/2021                                                   =-..\\,.l..l'.....,·,'-L-----c'c~--_,,_.-""'7'"-------
      Date                                                          Deptor-ln-Possession
Case 19-05831-LA11                          Filed 03/18/21                     Entered 03/18/21 15:55:27     Doc 201          Pg. 34 of
                                                                                 48                                                                 T
                                                                                                                    Business Statement
  [!L1bank.
         P.O. Box 1800
                                                                                                                                 Account Number:
                                                                                                                                            4446
         Saint Paul, Minnesota 55101-0800                                                                                       Statement Period:
         4614         TRN                              s                   y       ST01                                               Feb 1, 2021
                                                                                                                                          through
                                                                                                                                     Feb 26, 2021

                                                                                                                                      Page 1 of4

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          000057279 01 AB 0.428 000638740277326 P Y
          ESTATE OF DANA LINETT EARLY AMERICAN                                                                            To Contact U.S. Bank
          NUMISMATICS
          DEBTOR IN POSSESSION                                                                24-Hour Business
          BANKRUPTCY CASE 19-05831-11 GENERAL ACCT                                            Solutions:                          1-800-673-3555
          PO BOX3507
          RCHO SANTA FE CA 92067-3507
                                                                                              U.S. Bank accepts Relay Calls
                                                                                              Internet:                              usbank.com




Scan here with your phone's camera to download the U.S. Bank Mobile App.




Thank you for choosing U.S. Bank. We would like to inform you of upcoming changes that may impact your account. The chart
below lists account modifications that go into effect beginning January 1, 2021.
To determine if these changes will impact you, review the 'Analysis Service Charge Detail' section of this statement for your
current usage of these services. This is typically found on the last page.

If you have any questions or would like to discuss your account options, please call us at 1.800.673.3555. We accept relay
calls.
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                                        bank.                                                ESTA TE OF DANA LINETT EARLY AMERICAN
                                                                                             NUMiSMAT:cs
                                                                                             DEBTOR IN POSSESSION
                                                                                                                                                                                                                                                        Business Statement
                                                                                                                                                                                                                                                                             Account Number:
                                                                                             BANKRUPTCY CASE 19-05831-11 GENERAL ACCT                                                                                                                                                           4446
                                                                                             PO BOX3507                                                                                                                                                                     Statement Period:
                                                                                             RCHO SAMTA FE CA 92.067-3507                                                                                                                                                        Feb 1, 2021
                                                                                                                                                                                                                                                                                             through
                                                                                                                                                                                                                                                                                     Feb 26, 2021

                                                                                                                                                                                                                                                                                         Page 2 of 4




 U.S. Bank Nalion al Association                                                                                                                                                                                                       Account Number·                                         .-4446
 Account Summary
                                                          # Items
• Beginning Balance on                      Feb 1                                  $                                         10,083,98
  Customer Deposits                                              2                                                           10,000.00
  other Deposits                                                                                                                      145.93
  Card Withdrawals                                              25                                                              4,353.94-
  Other Withdrawals                                             2                                                                     196.15-
  Checks Paid                                                    5                                                              6,302.00-

                 Ending Balance on Feb 28, 2021 $                                                                               9,377.82
 Customer Deposits
  Number                          Date               Fief Number                                                                                                                             Date                     Ref Number                                                           Amount
                                  Feb lo             8653483126                                                                                                                              Feb 25                   5953754200                                                          5,000.00
                                                                                                                                                                           Tota! Customer Deposits                                                            $                          10,000.00
 Other Deposits
 Date ...... Description .. of.Transaction ·-·-·----·---·-·-··--·-   . . . . . . . - - . · - - - - -....·-···· .................... Hc,f Numb1:,r . . - - -                                                                                                                          .     Amount.....
 Feb 22 Electronic Deposit                             From PAYPAL                                                                                         $                                                                                                                                '145.93
                REF=21053006869629DNOO                     PAYPALSD11 TRAMSFER i 012406654219

                                                                                                                                                                                    Total Other Deposits                                                      $                             145.93
 Card Withdrawals
 Card Number: xxxx-xxxx-xxxx-5280
 Date .... _ .._Description of Transaction ..                                      . ................................... ,. .._................_..............             ................................ .. ... fief Nt!W..!?.fi!r                  ·--c----··-· . . . . Amount ...
 Feb 1 Debit Purchase .. V!SA                                                                On 012921 800-344-7779 DC                                                                                     0600292850                                         $                             17. 95-
                  USPS.COflA CLICKNS                                                                    REF #24137461030600292850998
                   ~'f;,f,!"f,ft.'?nt'?:!'t~!'!'fr.5280

 te9       ;<Ji\p~Pl~tr~~lrt~~rt.}i,f                 J{V:·· ·. n,: . ,on ~JJ3~1!~~~~9~ d2~0~;1 ~;~~ii~; i:::                                       6

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 Feb             1 Debit Purchase .. VlSA                                                    On O'i 2921 406-3766151 CA                                                                                    9004162285                                                                       79.90-
                      eBay 0"27 -06488-                                                         REF # 24204291029004'162285850



                          . ·"'~"~*,,;~....,,,s2eg,:• : ::.,. :O/.
                        Debit Purchase - VISA                                                On 012921                        973-9846900                        NJ ·.·.
                           NYE & CO COMPANY                                                            REF # 24013391029004038324171
                           *****4':+:"':1:'fi'~~5280
 Feb.:i:'.:oebit.Purchase'..v1sA:\C ....:. . ,.... :. '.:b;J 013g2r1os.37e61q}i:c;AJC:":): ( ::, ... .                                                                                                                                           ' .. ; ... ,·,:<.:·:",··;";;";,: :.:·     594:00,·
 , ,; ,.... _
            . . . :Jf~i,,f:~~~~$6~~\=:J\(/ ,..• ,_, .·:., ·•, ;                                        13.~.>;-tr242042e1                             ?q2,9-~~R?7!9.'.??es2                                                    .:.::;. .:::"' :.:-!·: ,_. :
 F~b 2                  Debit Purchase .. VISA                                               6n 6261i'~ ~bb]ll~Wikbi·;.;. ,. : : . .                                                             ",. "j5Qofi7543· . , "'· ..... ;,., .. :.:... ...... 21.50-
                             USPS.COM CL!CKNS                                                          REF# 24137461033600177543871
                             *•*•*"'*"~*""5280


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          2
 feb.' '·" , ...
           ._,   ..
                        De:bii~r~~t~:~~~~1:{FL
                      :::.~i ·~<:·~~~t,~~-f~~t.5280•. •• ••••   •-'":•,#vY,,,.,•.•.••
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                                                                                      48
                                                             ESTATE OF DANA Uf\JETT EARLY AMERICAN                                                    Business Statement
                                        n                    NUMISMATICS
                                                             DEBTOR IN POSSESSION
                                                             BANKRUPTCY CASE 19-05831-11 GENERAL ACCT
                                                                                                                                                                      Account Number:
                                                                                                                                                                                   4446
                                                             PO BOX3507                                                                                               Statement Period:
                                                             RCHO SANTA FE CA 92067-3507                                                                                    Feb 1. 2021
                                                                                                                                                                                through
                                                                                                                                                                           Feb 26, 2D21

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U.S. Bank National Association                                                                                                            Account Number 'l-575-2144-4446
Card Withdrawals (continued)
Card Number: xxxx-xxxx-xxxx-5280
Date    Description ofTransaction                       ·--·----·-·---·-·····-···-··---···--=-c------ -------'R~e"'"f'""""Number                                                    Amount
Feb · 2 Debit Purchase - V!SA                                  On 020121 408-3766151 CA                                   2325267634-------                                         347.00-
           eBay o~o?-06509-                                        REF# 24204291032325267634949
           **""**"'·***"5 280


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                                                               0


Feb    3 Debit Purchase - VISA           DC                                         10~
                                                               On 020221 800-344-.7779                                   4600164795                                                   29.
               USPS.COM CUCKNS                                     REF# 24137461034600164795640
               ***-t:1:,:0~<:':':!'::ft~'f:'5280 ,


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Feb 4 DebitPurchase-VISA
        eBay 0*11-06520-
                                                               On020321408-3766151 CA
                                                                 REF# 24204291034004141958737
                                                                                                                          4004141958                                                  81.90-

               ****"""'"'*"*52 80


ifSiflt~iif
Feb    5 Debit Purchase - VISA
                                   iffi11fa:0         i! , , ??~~1; ;!~~~;,~~4\!~n*Itrmtli !f;ti;~Ulf!:fl1!trf~itili£llllilillitlI
                                                                         1

                                                               On 020421 865-558-3033 TN                                  5207384200                                           .. 480.00-
            CASE ANTIQUES                                         REF# 24323031035207384200098
            ~•• •~*****""52BO


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Feb 8 Debit Purchase -VISA                                     On 020521 408-3766151 CA                                   6004189334                             .. ·"' ' ....... ,   32:oo~"
         eBay 0*20-06530-                                         REF # 24204291036004189334948
         *.'r.t:-:t-~~1':,H:*5280



Feb iO Debit Purchase - VISA                                   On 020921 717-7318662 PA                                   0113804507                                                  64.66-
          py "LiveAuctione                                        REF # 24906411040113504507959
               **"*"""*"***5280
Feh"-1 o>oebff Purd:iase '>vis'A                     . .. . .·On 020921402~935-7733 CA··           .. ' ' .. ·.      : ·,:·o8526B6·296· .:.: ..•.,:. :'   ·. .       ' .. :. .. . 8fl02,:

Feb 10 Debit Purchase - VISA                                   On 02092'1 6i 0-430-2003 PA                                0200267000                                                149.00-
          MA!L N MORE PLUS                                        REF# 24435651040200267000027
          "'""""'""'*"'""*5280


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Feb 10 Debit Purchase - VlSA                                   On 020921 408-3766151 CA                                   0004246315
                                                                                                                                                                     1

                                                                                                                                                                              ,,.   267.39-
               eBay 0*03-06555-                                    REF# 2420429104000424831585B
               *"*""""*"*"""'5280


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Feb   12 Debit Purchase ~VISA                                  On 021121 610-430-2003 PA                                  2200267100                                                230.00-
            MA!L N MORE PLUS                                       REF# 24435651042200267'100031
               *"*"""**"*""*5280
                                                                                           Card 5280 Withdrawals Subtotal                                   $                  4,353.94-
                                                                                                        Total Card Withdrawals                              $                   4,353.94-
                                                                                             ----------------------·------
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                                                                                                                                      48
                     [!libank.                                                            ESTATE OF DANA LINETT EARLY AMERICAN
                                                                                          NUMISMATICS
                                                                                          DEBTOR IN POSSESSION
                                                                                                                                                                                                                                     Business Statement
                                                                                                                                                                                                                                                           Account Number:
                                                                                                                                                                                                                                                                                    4446
                                                                                          BANKRUPTCY CASE 19-05831-11 GENERAL ACCT
                                                                                          PO BOX3507                                                                                                                                                      Statement Period:
                                                                                          RCHO SANTA FE CA 92067-3507                                                                                                                                           Feb 1, 2021
                                                                                                                                                                                                                                                                    through
                                                                                                                                                                                                                                                               Feb 26, 2021

                                                                                                                                                                                                                                                                       Page 4 of 4

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U.S. Bank National Association                                                                                                                                                                                        Account Number 1-575-2144-4446
other Withdrawals
Date         Description of Transaction                                                                                                                                                         Ref Number                                                                 Amount
Feb        4 Electronic Withdrawal                                                          To OMWD WATER                                                                                                                                   $                              181.15-
                REF=210350078825970NOO                                                         21419014617607536466
f.¢pj.i;:.'.'~M'i~l$#~i6"i~t:q~~:r,g~::,r,:;:-:=:,:t,:t,rt::mm:::rtti:#J}j)):;;{:·1·ttJ'}:{j'}j=fJj}:(f}l/:'iti'\iU[/:fJ'f'fUiJ@iri9.PQPQQ/;i':/it}MV:!Jtil'ifilf:t(';'U/';ftt}'1'.$.@>f:'iP
                                                                                                                                                                  Total Other Withdrawals                                                   $                              196.15-

Checks Presented Conventionally
Check                           Date                     Ref Number                                                     Amount                    Check                           Date                     Ref Number                                                      Amount
1277                            Feb 2                    8353690901                                                      43.00                    1280                            Feb 2                    8356830926                                                    5,000.00
1278                            Feb ··1                  8053556289                                                      35.00                    1281                            Feb 5·                   9254068381                                                     - 24.00
1279                            Feb 10                   8355397911                                                   1,200.00
                                                                                                                                                       Conventional Checks Paid (5)                                                         $                          6,302.00-

Balance Summary
Date                                           Ending Balance                               Date                                            Ending Balance                               Date                                            Ending Balance
Feb                                                        9,040.16                         Feb 5                                                       2,209.01                         Feb 12                                                      4,231.89
Feb 2                                                      3,183.66                         Feb 8                                                       1,934.33                         Feb 22                                                      4,377.82
Feb 3                                                      3,154.56                         Feb 10                                                      4,476.89                         Feb 25                                                      9,377.82
Feb 4                                                      2,713.01
       Balances only appear for days reflecting change.

~NA:t;:MS.l&WSE'ltVJO~'.'·o.MBG.,J.a.:JD.:'51lll~t-iD.'::'•il::'\:'t'::'' .'·:':\~:;::::,'::?:::\i.'.'l:?t:Y:·'::::';'::':::''.'l::'~:·:'.:t:'•i:':';:i;:''f'fli,'•:!J?:+:::'·W';'::':' \!.'::i:r:~l:':i:!;'::'Vi'' .!d:\l.::'~::i,::·''.!:·::':;•iii:i·:·!'' ':;'' '.::
Account Analysis Activity for: January 2021
                                                            Account Number:                                                                                                         -4446                                               $                                       5.00
                                                            Account Number:                                                                                                        -4453                                                $                                       5.00
                                                            Account Number:                                                                                                        ·-4461                                               $                                       5.00
                                                            Analysis Service Charge assessed to                                                                                     4446                                                $                                     15.00
                                                                        Service Activity Detail for Account Number                                                                                      4446
Service                                                                                                                                Volume                                                    Avg Unit Price                                                  Total Charge
Depository Services
                                                           1
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                                                                Subtotal: Depository Services                                                                                                                                                                                   5.00
                                                                Fee Based Service Charges for Account Number                                                                              4446                                          $                                       5.00
                                                                        Service Activity Detail for Account Number                                                                                      -4453
Service                                                                                                                                Volume                                                    Avg Unit Price                                                  Total Charge
Depository Services
           Paper Statement Fee                                                                                                                                                                               5.00000                                                            5.00
                                                                Subtotal: Depository Services                                                                                                                                                                                   5.00
                                                                Fee Based Service Charges for Account Number                                                                             -4453                                          $                                       5.00
                                                                        Service Activity Detail for Account Number                                                                                     -4461
Service                                                                                                                                Volume                                                    Avg Unit Price                                                 Total Charge
Depository Services
           Paper Statement Fee                                                                                                                                                                               5.00000                                                            5.00
                                                                Subtotal: Depository Services                                                                                                                                                                                   5.00
                                                                Fee Based Service Charges for Account Number·                                                                           .-4461                                          $                                       5.00
   Case 19-05831-LA11                                         Filed 03/18/21                   Entered 03/18/21 15:55:27                        Doc 201                 Pg. 38 of
                                                                                                 48
                                                                                                                                                               Business Statement
                                bank,                                                                                                                                      • Account Number:
                                                                                                                                                                                         4453
                              P.O. Sox 1800
                              Saint P;;ui_ Mmnesota 55101-0llOO                                                                                                             Statement Period:
                              4614             TRN                       s                 y      ST01                                                                           Feb 1, 2021
                                                                                                                                                                                      through
                                                                                                                                                                                Feb 26, 2021

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                               0000572.31 01 AB 0-428 000638740277278 P Y
                               ESTATE OF DAi'lA LINEfl' EARLY AMERICAN                                                                                                  To Contact U.S. Bank
                               NUMISMATICS
                               DEBTOR IN POSSESSION                                                                    24-Hour Business
                               BANKRUPTCY CASE# 19-05831-11                                                            Solutions:                                             1-800-6 73-3555
                               PO BOX 3507
                               RC!-lO SANTA FE CA 92067-3507
                                                                                                                       U.S. Bank accepts Relay Cafls
                                                                                                                       Internet:                                                 us/Jank.com




 Scan here with your phone's camera to download the U.S. Bank Mobile App,




Thank you for choosing U.S. Bank. We would like to inform you of upcoming ct1anges that may impact your account. The chart
below lists account modifications that go into effect beginning January 1, 2021,
To determine if these changes wiU impact you. review the 'Analysls Service Charge Detail' section of this statement for your
current usage of these services, This is typically found on the last page,

 lf you have any questions or would like to discuss your account options, please call us at i .800.673.3555. We accept relay
 calls.



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             Case 19-05831-LA11                         Filed 03/18/21                 Entered 03/18/21 15:55:27   Doc 201        Pg. 39 of
                                                                                         48
                                                                                                                        Business Statement
                          bank.                             ESTATE OF DANA LINETT EARLY AMERICAN
                                                            NUMiSMATICS
                                                            DEBTOR IN POSSESSION
                                                                                                                                      Account Number:
                                                                                                                                                   4453
                                                            BANKRUPTCY GASE Ii' 19-05831-11
                                                            PO BOX 3507                                                              Statement Period:
                                                            RCHO SANTA FE CA 92067-3507                                                    Feb i, 2021
                                                                                                                                               through
                                                                                                                                          Feb 26, 2021

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                                                                                                                        •• :, C

U.S. Bank National Asso<.:mtion                                                                                    Account Number                 -4453
Account Summary

Beginning Balance on Feb 1                              $                       100.00
        Ending Balance on Feb 28, 2021 $                                        100.00
                        Case 19-05831-LA11                                                                   Filed 03/18/21                                              Entered 03/18/21 15:55:27                                          Doc 201                          Pg. 40 of
                                                                                                                                                                           48
                                                                                                                                                                                                                                                                      Business Statement
                                                                        nk.                                                                                                                                                                                                      Account Number:
                                                                                                                                                                                                                                                                                             4461
                                              P.O. Box 1300
                                              Sa1nl Pau!, Minnesota 55101-0800                                                                                                                                                                                                   Statement Period:
                                              4614                      TRN                                                      s                                   y             ST01                                                                                                Feb1,2021
                                                                                                                                                                                                                                                                                           through
                                                                                                                                                                                                                                                                                      Feb 26. 2021

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                                                000057235 01 AB ll.428 OOO!'i3H740277282 P Y
                                                ESTATE OF DANA LINETT EARLY AMERICAN                                                                                                                                                                                         To Contact U.S. Bank
                                                NUMISMATICS
                                                DEBTOR 1N POSSESSION                                                                                                                                    24-Hour Business
                                                BANf<RUPTCY CASE 1/19:05831-11 TAX ACCOUNT                                                                                                              Solutions:                                                                 1-800-673-3555
                                                PO BOX3507
                                                RCHO SANT.!\ FE CA 92067-350?
                                                                                                                                                                                                        U.S. Bank accepts Relay Calls
                                                                                                                                                                                                        internet:                                                                     usbank.com




                      Scan here with your phone's camera to download the U.S. Bank Mobile App.




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                      Thank you for choosing U.S. Bank. We would like to inform you of upcoming changes that may impact your account. The chart
                      below !ists account modifications that go into effect beginning January 1, 2021.
                      To determine if these changes will impact you. review the 'Analysis Service Charge Detail' section of this statement for your
                      current usage of these services. This ls typically found on the last page.

                       If you have any questions or would like to discuss your account options, please call us.at 1.B00.673.3555. We accept relay
                      calls.,;
                      ----·-·--                                                                                                            ~                                                                                                                            -




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               Case 19-05831-LA11                                    Filed 03/18/21                        Entered 03/18/21 15:55:27                                         Doc 201                  Pg. 41 of
                                                                                                             48                                                                                                                               ·r
                  [!Libank.                                               ESTATE OF DANA LINETT EARLY AMERICAN
                                                                          NUMISMATICS
                                                                          DEBTOR IN POSSESSION
                                                                                                                                                                                            Business Statement
                                                                                                                                                                                                             Account Number:
                                                                                                                                                                                                                          4461
                                                                          BANKRUPTCYCASE#19-05B31-11 TAX ACCOUNT
                                                                          PO B0X3507                                                                                                                         Statement Period:
                                                                          RCHO SANTA FE CA 92067-3507                                                                                                              Feb 1, 2021
                                                                                                                                                                                                                       through
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U.S. Bank National Association                                                                                                                                                 Account Number                                    -4461
Account Summary

Beginning Balance on Feb 1                                            $                            100.00
                                                                      --------
          Ending Balance on Feb 28, 2021 $                                                         100.00
       Case 19-05831-LA11                                         Filed 03/18/21   Entered 03/18/21 15:55:27                       Doc 201             Pg. 42 of
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Wells Fargo Everyday Checking
February 28, 2021                            1111   Page 1 of 6




                                                                                                            Questions?
DANA A LJNETT                                                                                               Available by phone 24 hours a day, 7 days a week:
                                                                                                            We accept all relay calls, including.711
DEBTOR IN POSSESSION
CH11 CASE #19-05831 (SCA)
                                                                                                             1~800-TOftWELLS               (1-800-869-3557)

PO B0X3507                                                                                                   En espa1ioi: i-877-727-2932
RANCHO SANTA FE CA 92067-3507

                                                                                                            Online: wellsfargo.com

                                                                                                            Write:   Wells Fargo Bank, N.A. (114)
                                                                                                                     P.O. Box 6995
                                                                                                                     Portland, OR 97228-6995




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 Thank you for being a loyal Wells Fargo customer. V\le value your trust in our                             A check mark in !he box indicates you have these
 company and look forward io continuing to serve you with your financial needs.                             convenient services w11h your account(s). Go to
                                                                                                            we/lsfargo.com or call Iha number above if you have
                                                                                                            questions or if you would like to edd new services.

                                                                                                            Online Banking           [Z]    Direct De posit         D
                                                                                                            Online Bill Pay          D      Auto Transfer/Payment   D
                                                                                                            Online Statements        [Z]    Overdraft Protection    D
                                                                                                            Mobile Banking           l{J Debit Card
                                                                                                            My Spending Report       [Z]    Overdraft Service       0

Statement period activity summary                                                                           Account number:             '1670

             Beginning balance on 211                                                $2.579.39              DANA A LINETT
                                                                                                            DEBTOR lN POSSESSION
             Deposits/Additions                                                      12,662.43
                                                                                                            CH11 CASE #19-05831 (SCA)
              Withdrawals/Subtractions                                              - 12,507.36
                                                                                                            California account terms. and conditions apply
              Ending balance on 2/2S                                                 $2,734.46
                                                                                                            For Direct Deposit use
                                                                                                            Routing Number (RTN): 121042882



Overdraft Protection
This accoLJnt is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




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    Case 19-05831-LA11                Filed 03/18/21           Entered 03/18/21 15:55:27            Doc 201          Pg. 43 of
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Transaction history

                   Check                                                                Deposits/     Withdrawals/       Ending daily
     Date         Number Description                                                    Additions     Subtractions           balance
     211                 Purchase authorized on 01/28 Fedex 463506230 Memphis TN                             36.09
                         S581028487024707 Card 3462
     211                 Purchase au!horized on 01/30 Sq ·Nye & CO., Shi Gosq.Com NJ                        21.00
                         S581030617721014 Card 3462
     211                 Purchase authorized on 01/31 7-Eleven San Diego CA                                 24.46           2,497.84
                         P00000000379584184 Card 3462
     212                 Purchase authorized on 02/01 Google'Gsuite Evol. Internet CA                       12.00
                         S461032717766806 Card 3462
     2/2                 Purchase authorized on 02/01 Google ·Gsuite_Log                                     12.00
                         CC@Gooqle.Com CA S581032720615270 Card 3462
     212                 Purchase authorized on 02/01 Foxwoods Online.Bb 860-3123000                          0.99          2,472.85
                         Can S381033020961998 Card 3462
     2l3                 Edeposit IN Branch/Store 02/03/21 04:47:16 Pm 13490 Pacific    3,600.00
                         Hi2hlends Ranch Pkwl San Diego CA 3462
     2/3                 Purchase authorized on 01/30 Fedex 463675094 Memphis TN                           159.76
                         S381030572864264 Card 3462
     213                 Recurring Payment authorized on 02102 Dnh·Godaddy.Com                              28.16
                         480-5058855 AZ. S381033562036630 Card 3462
     213                 Purchase authorized on 02/02 Googte·Gsuite Earl Internet CA                        30.00           5,854.93
                         S381033613875761 Card 3462
     2/4                 Purchase authorized on 02/01 Fedex 463950164 Memphis TN                           217.65
                         S461032491620446 Card 3462
     2/4                 Purchase authorized on 02/02 Amazon Web Service                                      6.48          5,630.80
                         Aws.Amazon.CO WA S381034139418269 Card 3462
     2/5                 Purchase authorized on 02/03 Fedex 464239443 Memphis TN                            39.96
                         S301034483987159 Card 3462
     2/5                 Purchase authorized on 02/03 Foxwoods Online.Sb 860-3123000                          4.99
                         Can S381035188705075 Card 3462
     2/5                 Purchase authorized on 02/03 Foxwoods Online.Sb 860-3123000                          0.99          5,584.66
                         Can $461035188838059 Card 3462
     218                 Pllrchase authorized on 02/04 Fedex 464341640 Memphis TN·                          86.00
                         S581035484520138 Card 3462
     2/8                 Purchase authorized on 02/05 Staterbros167 9909 Carmel San                         96.28
                         Diego CA P00461037074086099 Card 3462
     2/8                 Purchase authorized on 02!05 Paypal 'Vegaalberj 402-935-7733                       16.00
                         CA 8301037150009784 Card 3462
     218                 Recurring Payment authorized on 02105 Eig'Constantcontac                           55.00
                         855-2295506 MA S461037266003005 Card 3462
     218                 Purchase authorized on 02/06 Fedex 464504992 Memphis TN                           109.88
                         S381037505325399 Card 3462
     218                 Purchase authorized on 02/06 The Home Depot #0669 San Diego                        71.66
                         CA ?00461037823481275 Card 3462
     2/8                 Purchase authorized on 02/07 Stalerbros167 9909 Carmel San                         41.26
                         Dieqo CA P00301038791422565 Card 3462
     218                 Purchase Return authorized on 02/06 The Horne Depot #0669         13.39
                         San Dieqo CA P00301037811509744 Card 3462
     2/8                 Purchase Return authorized on 02106 The Home Depa! #0669          21.52                            5,143.69
                         San Diego CA P00000000570138222 Card 3462
     2/9                 Purchase authorized on 02/02 Gsm Supply LLC 195-144-2839 NV                        49.78
                         S381034061831578 Card 3462
     2/9                 Purchase authorized on 02/08 Ebay 0'10-06547-65 408-3766151                        71.00           5.022.91
                         CA S461039527998137 Card 3462
     2110                Purchase authorized on 02/08 Fedex 464780076 Memphis TN                           104.84           4,918.07
                         S381039483472059 Card 3462
     2/12                Edeposit IN Branch/Store 02/12/21 02:09:54 Pm 3820 Valley      4,000.00
                         Centre Dr San Diel,jO CA 3462
     2/12                Purchase authorized on 02/11 Leslie Hindman Aue Chicago IL                         98.88
                         8461042643199046 Card 3462
     2/12                Purchase authorized on 02/11 Colijas Taco Shop San Diego CA                          9.43
                         S381042709458541 Card 3462
     Case 19-05831-LA11                    Filed 03/18/21             Entered 03/18/21 15:55:27             Doc 201         Pg. 44 of
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Transaction history (continued)

                     Check                                                                      Deposits/    Withdrawals!      Ending daily
     Date           Number Description                                                          Additions    Subtractions          balance
     2/12                     Purchase authorized on 02/12 Postal Comer Encinitas CA                                81.85
                              P00581043780382260 Card 3462
     2/12                     Purchase authorized on 02/12 Vons #2119 San Diego CA                                  61.26         8,666.65
                              P00461043810461609 Card 3462
     2/16                     Purchase authorized on 02/12 Ebay 0'21-06568-n 408-3766151                          567.08
                              CA S301043629387311 Card 3462
     2/16                     Purchase authorized on 02/12 Paypal • Jayin la 122 402-935-7733                    3,850.00
                              CA S381043644244036 Card 3462
     2/16                     Purchase authorized on 02/12 USPS.Com Clicknshi 800-344-7779                          14.45
                              DC S30t043764501088 Card 3462
     2/16                     Purchase al1thorized on 02/12 Iron INok San Diego CA                                  39.54
                              S301044071543442 Card 3462
     2/16                     Purchase authorized on 02/13 Fedex 465360050 800-4633339 TN                          105.35
                              S301044509736276 Card 3462
     2/16                     Recurring Payment aulhorized on 02/14 Rocketlaw 877-757-                              39.99
                              WWW.Rocketlaw CA S381045838S64379 Card 3462
     2/16                     Purchase authorized on 02115 Dnh*Godaddy.Com                                           9.99
                              Https:1/WWW.G Al. $461046554473387 Card 3462
     2116                     Purchase authorized on 02115 Ebay 0'23-06584-06 408-3766151                           49.45
                              CA S38104664300403B Card 3462
      2116                    Purchase authorized en 02/15 Ebay 0·23-06584-06 40B-3766151                           95.90
                              CA S3S104664300403B Card 3462
      2116                    Purchase authorized on 02115 Ebay 0'03-06586-64 408-3766151                           54.95
                              CA S581046644259066 Card 3462
     2116                     Purchase authorized on 02/15 Ebay 0'12-06585-69 408·3766151                         251.40
                              CA $461046647849703 Card 3462
      2116                    Purchase authorized on 02/15 Ebay 0'20-06584-48 408-3766151                           27.45
                              CA S381046650207710 Card 3462
      2116                    Recurring Payment authorized on 02115 Dropbox'Cygj32'1 Nip                            11.99
                              Dropbox.Com CAS30'1046786715486 Card 3462
      2/16                    Purchase authorized on 02/15 Costco Gas #0775 Poway CA                                54.00
                              P0058i047073709960 Card 3462
      2/16                    Purchase authorized on 02115 Costco Gas #0775 Poway CA                                 7.99
                              P00301047077337028 Card 3462
      2/16                    Purchase authorized on 02/15 Costco Whsa #0775 Poway CA                              467.37
                              P00581047104507182 Card 3462
      2116                    Purchase Return authorized on 02/15 The Horne Depot 8949             21.52                          3,041.27
                              Poway CA P00000000979747291 Card 3462
      2117                    Purchase authorized an 02/15 Fedex 465642212 800-4633339 TN                          124.47
                              S461046492472474 Card 3462
      2117                    Recurring Payment authorized on 02/15 Apobe Creative Clo                              52.99
                              408-536-6000 CA $461046601501527 Card 3462
      2117                    Purchase authorized on 02/16 Sq ·Nye & CO., Shi Gosq.Com NJ                           28.00
                              S581047658862005 Card 3462
      2117                    Recurring Payment authorized on 02/1.6 Dropbox 8Qd25Cxpry                             11.99         2,823.82
                              141-58576933 CA S301047856815533 Card 3462
      2118                    Purchase authorized on 02/16 Fedex 455847110 800-4633339 TN                           30.43
                              S58104 7499968455 Card 3462
      2/18                    Purchase authorized on 02/17 Sp • Usamericana Httpsusameric                           48.95
                              /J.Z. S461048582357300 Card 3462
      2/18                    Purchase authorized on 02/17 USPS.Com Clicknshi 800-344-7779                          83.80         2,660.64
                              DC $301048803767038 Card 3462
      2/19                    Edeposit IN Branch/Store 02119/21 01 :32:37 Pm 13490 Pacific      3,000.00
                              Highlands Ranch Pkwv San Dieao CA 3462
      2/19                    Purchase authorized on 02/17 Fedex 465927512 BOQ-4633339 TN                          173.45
                              S461048462086089 Card 3462
      2/19                    Purchase authorized on 02/18 Ebay 0'17-06601-23 408-3766151                          141.61
                              CA S461049630607842 Card 3462
      2/i9                    Purchase authorized on 02/18 Postal Connections 717-7660335                            7.90
                              PA S581049716382210 Card 346?
      2119                    Purchase authorized on 02/18 USPS.Com Clicknshi 800-344-7779                          11.55
                              DC $461049811848877 Card 3462
     Case 19-05831-LA11                Filed 03/18/21            Entered 03/18/21 15:55:27              Doc 201          Pg. 45 of
                                                                   48

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Transaction history (continued}

                   Check                                                                    Deposits/     Withdrawals/      Ending daily
     Date         Number Descripiion                                                        Additions     Subtractions          balance
     2/19                 Purchase authorized on 02/19 Rite Aid 06711 San Diego CA                                5.00         5,321.13
                          P00000000974762392 Card 3462
     2/22                 Edeposit IN Branch/Store 02/22121 02:07:34 Pm 3820 Valley         2,000.00
                          Centre Dr San Die1;10 CA 3462
     2/22                 Purchase authorized on 02118 Fedex: 466001353 800-4633339 TN                          42.44
                          $301049461736873 Card 3462
     2122                 Purchase authorized on 02118 Scripps Medica!fou San Diego CA                           10.00
                          S461049623028386 Card 3462
     2/22                 Purchase authorized on 02/19 Skinner Inc. 508-9703226 MA                             225.00
                          S301050646947677 Card 3462
     2122                 Purchase authorized on 02119 Liveauctioneers.CO 8886002437                          1,420.50
                          NY S581050669874632 Card 3462
     2122                 Purchase authorized on 02119 USPS.Corn Clicknshi 800-344-7779                        147.75
                          DC S301050798650661 Card 3462
     2/22                 Purchase authorized on 02/20 Fedex 466111687 800-4633339 TN                          323.61
                          S581051616093896 Card 3462
     2/22                 Purchase authorized on 02/20 Paypal 'Historyplu 402-935-n33                          107.00
                          CA 8581051748023297 Card 3462
     2/22                 Purchase authorized on 02120 Crb'Carbonite Back 877-6654466                           83.99
                          MA S301052219710197 Card 3462
     2/22                 Purchase authorized on 02/21 Staterbros167 9909 Carmel San                           155.69
                          Dieqo CA P00461052708638303 Card 3462
     2122                 Purchase authorized on 02/22 Rite Aid 06711 San Diego CA                             116.00          4,689.15
                          POOOOOD00581255523 Card 3462
     2123                 Recurring Payment authorized on 02/22 Dn1,•Godaddy.Com                                 12.99
                          480-5058855 AZ. S581053467625504 Card 3462
     2/23                 Purchase authorized on 02122 Paypal 'Papertr! E 402-935-7733                         434.27
                          CA S301053622367506 Card 3462
     2/23                 Purchase authorized on 02i22 Paypal 'Skruskall 402-935-7733 CA                       154.80
                          8301053623891419 Card 3462
     2123                 Purchase authorized on 02/22 Paypal "S!icklelis 402-935-7733 CA                       67.55
                          S381053625956543 Card 3462
     2/23                 Purchase authorized on 02/22 Ebay 0·27-06620-91 408-3766151                          102.50
                          CA 8461053627447906 Card 3462
     2/23                 Purchase authorized en 02123 Postal Corner Encinitas CA                              206.10          3,710.94
                          P00381054792009256 Card 3462
     2124                 Purchase authorized on 02122 Fedex: 4663,4070 800-4633339 TN                         218.81
                          S381053478722517 Card 3462
     2124                 Purchase authorized on 02/23 Ebay 0'07-06628-70 408-3766151                            10.12
                          CA $381054534498679 Card 3462
     2124                 Purchase authorized on 02123 Paypal 'Skruskall 402-935·7733 CA                        35.50
                          8381054604118271 Card 3462
     2/24                 Purchase authorized on 02/23 Ebay.Corn/CC 888-749-3229 CA                            103.20          3,343.31
                          8461054640721014 Card 3462
     2/25                 Purchase Return authorized on 02/24 Ebay 0'20-06632-88                6.00
                          408-3766151 CA S381055665148755 Card 3462
     2/25                 Purchase authorized on 02/23 Fedex 466489509 800-4633339 TN                           99.48
                          S581054495020149 Card 3462
     2/25                 Purchase authorized on 02124 Ebay 0·20-06632·88 408-3766151                           62.07
                          CA $581055595473895 Card 3462
     2/25                 Purchase authorized on 02/24 Ebay 0'23-06632-55 408-3766151                           73.00          3,114.76
                          CA $301055598684300 Card 3462
     2/26                 Purcl1ase authorized on 02124 Fedex 466597939 800-4633339 TN                         124.96
                          S461055461618115 Card 3462
     2/26                 Recurring Payment authorized on 02/25 Fedex 466709400                                 95.34
                          800-4633339 TN S301056470599403 Card 3462
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Transaction history (continued)

                                        Check                                                                                                                                              Deposits!           Willldrawa/s!           Ending daily
       Date                            Number Descr~otion                                                                                                                                  Additions           Subtraetions                balance
       2126--                                            Purchase authorized on 02125 Ebay 0·14-06639-81 408-3766151                                                                                                   66.00
                                                         CA S461056683521459 Card 3462
        2126                                             Purchase authorized on 02125 Courtcan ·111 i 310-342-0888 CA                                                                                                  94.00               2,734.46
                                                         $381056826870944 Card 3462
        Ending balance on 2128                                                                                                                                                                                                            2,734.46
       Totals                                                                                                                                                                            $12,662.43             $12,507.36
       The Ending Daily Balance does not reflect any pending withdrawals or holds 011 deposited funds that may have been oulstanding on your account wt1en your
       transactions posted. ff yoii had insufiicient available funds when a transaction posted, fees may have been assessed.


Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsiargo.com/feefaq ior a
link to these documents. and answers to common monthly service fee questions.


       fE.e period 02/01/2021 - 02!2812021                                               ······--·-·..····--·--·----··..·····----...........standard monthly service fee                         s10.oo........----·--    You paicl $0.00 ·-·-···-.....

        The bank has waived the fee fonhis fee.period .......................................................... ·············---....................................._.............

        How to avoid the monthly service fee                                                                                                                                           Minimum required                   This fee period
        Have any ONE of the following account requirements
            Minimum daily balance                                                                                                                                                               $500.00                           $2,472.85    21
                 Total amount of qualifying direct deposits                                                                                                                                     $500.00                               $0.00    0
                 Age of primary account owner                                                                                                                                                     17-24                                        0
                 The fee is waived when the account is linked to a Wells Fargo Campus ATM or
                 Campus Debit. Carci
        The Monthly ser~ice fee summary fee period ending date shown above includes·a Saturday, Sunday, or holiday which are non-business days.
        Transactions occurring after the last business day oi the month will be included in your next fee period.
        RC"RC




          IMPORTANT ACCOUNT INFORMATION

Effective on or after April 1, 2021. Wells Fargo will no longer issue temporary debit cards, including Wells Fargo Instant Issue Debit
Cards, Wells Fargo Business Instant Issue Debit Cards, and EasyPay Instant Cards.                                                                        if you need a replacement card, you may reques! one
by signing on to Wells Fargo Online'' or calling the number on your statement. Once requested. replacement cards arrive by mail in 5
to 7 calendar days. You may add your Wells Fargo Debi! Card or EasyPay Card to a Wells Fargo-supported digital wallet on your mobile
device so you can make secure. convenient purchases in stores, online, and in apps, and access Wells Fargo ATMs while you wait for
your replacement card. For more details on digital wallets, please visit                                                                       wellsfargo.com/mobilelpayments.                            Availability rnay be
affected by your mobile carrier's coverage area. Your mobile carrier's message and data rates may apply. Some ATMs within secure
locations may require a physical card !or entry.




Effective on or after April 1, 2021, the ATM Access Code feature will no longer be available to access your accounts at Wells Fargo ATMs.
You may continue lo access Wells Fargo ATMs using your Wells Fargo Debit, ATM or EasyPai' Card, or with a Wells Fargo-supported
digital wallet on your mobile device. For more information about adding your card to a digital wallet, please visit
wellsfargo.comlmobile/payments. Availability may be affected by your mobile carrier's coverage area. Your mobile carrier's message
and data rates may apply. Some ATMs within secure locations may require a physical card for entry. Note: After the ATM Access Code
feature for accessing Wells Fargo accounts is discontinued, the "Use an Access Code" button may continue to be displayed on Wells
Fargo ATMs to support other services.
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                                                     48


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     Gustavo E. Bravo, Esq. Bar No. 218752
 2   SMAHA LAW GROUP APC
     2398 San Diego Avenue
 3   San Diego, California 92110
     (619) 688-1557 Telephone
 4   (619) 688-1558 Facsimile
     Attorneys for Debtor, Dana Aaron Linett
 5
                                    UNITED STATES BANKRUPTCY COURT
 6                                  SOUTHERN DISTRICT OF CALIFORNIA

 7    PROOF OF SERVICE                                      Case No. 19-05831-LAl 1
 8                                                          In re Dana Aaron Linett
 9
             I am employed in the City of San Diego, California. I am over the age of 18 and not a party to the
10   within action. My business address is 2398 San Diego Avenue, San Diego CA 92110.

11           On March 18, 2021, I caused to be served the following document(s) described as:

12           1.      DEBTORS-IN-POSSESSION'S MONTHLY OPERATING REPORT FOR THE
                     MONTH OF FEBRUARY 2021
13
      U.S. TRUSTEE
14    Department of Justice
      880 Front Street, Ste. 3230
15    San Diego, CA 92101
16
     [X]     (BY MAIL) I served the individual named by placing the documents in a sealed envelope. I then
17           placed it for collection and mailing with the United States Postal Service this same day, atmy address
             shown above, following ordinary business practice.
18
     [X]     (To Be Served by the Court via Notice of Electronic Filing ("NEF")). Under controlling Local
19           Bankruptcy Rules( s) ("LBR"), the document( s) listed above will be served by the court via NEF and
             hyperlink to the document. On March 18, 2021, I checked the CM/ECF docket for this bankruptcy
20           case or adversary proceeding and determined that the following person( s) are on the Electronic Mail
             Notice List to receive NEF transmission at the e-mail address( es) indicated and/or as checked below:
21
             Gustavo E. Bravo:        gbravo@smaha.com
22           Michael D. Breslauer:            mbreslauer@swsslaw.com, wyones@swsslaw.com
             Theron S Covey:          tcovey@raslg.com, CAECF@tblaw.com
23           Sean C Ferry:            sferry@raslg.com, bkyecf@rasflaw.com;sferry@ecf.courtdrive.com
             Thomas B. Gorrill:       tom@gorillalaw.com, r53431@notify.bestcase.com
24           Michael Koch:            MLKoch@live.com,
                                      lblaw7@gmail.com; r40511@notify.bestcase.com
25           Byron B. Mauss:          bmauss@swlaw.com, idelgado@swlaw.com
             David Ortiz:             david.a.ortiz@usdoj.gov,
26                                    USTP.REGION15@USDOJ.GOV;tiffany.I.carroll@usdoj.gov;abram
                                      .s.feuerstein@usdoj.gov
27
28




                                                           1
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 1           John Smaha:              jsmaha@smaha.com,
                                      gbravo@smaha.com;mdawson@smaha.com;jteague@smaha.com
 2           U.S. Trustee:            ustp.regionl5@usdoj.gov

 3
 4           I declare under penalty of perjury under the laws of the State of California that the foregoing is true
     and correct. Executed on March 18, 2021, San Diego, California.
 5
                                                                                             \
 6
 7
                                                               Isl Amelda M Dawson
                                                                  Amelda M. Dawson:?
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